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             IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF DELAWARE

 In re: BOY SCOUTS OF AMERICA                  Chapter 11
 AND DELAWARE BSA, LLC
                   Debtors.                    Bankruptcy Case
                                               No. 20-10343-LSS
 NATIONAL UNION FIRE INSURANCE
 CO. OF PITTSBURGH, PA, et al.,                (Jointly Administered)
                Appellants
                   -v.-
                                               Case No. 22-cv-01237-RGA
 BOY SCOUTS OF AMERICA AND
 DELAWARE BSA, LLC,
               Appellees

                REPLY BRIEF OF CERTAIN INSURERS

  Theodore J. Boutrous Jr. (pro hac vice)    Deirdre M. Richards
  Richard J. Doren (pro hac vice)            (DE Bar No. 4191)
  Blaine H. Evanson (pro hac vice)           FINEMAN KREKSTEIN
  GIBSON, DUNN & CRUTCHER LLP                & HARRIS PC
  333 South Grand Avenue                     1300 N. King Street
  Los Angeles, California 90071              Wilmington, DE 19801
  tboutrous@gibsondunn.com                   Telephone: (302) 538-8331
  rdoren@gibsondunn.com                      drichards@finemanlawfirm.com
  bevanson@gibsondunn.com
                                             Susan Gummow (pro hac vice)
                                             FORAN GLENNON
  (Additional Parties and Counsel on         PALANDECH PONZI &
  Inside Cover)                              RUDLOFF P.C.
                                             222 N. LaSalle St., Suite 1400
                                             Chicago, Illinois 60601
                                             sgummow@fgppr.com

  Counsel for National Union Fire Insurance Company of Pittsburgh, Pa.,
  Lexington Insurance Company, Landmark Insurance Company, and the
  Insurance Company of the State of Pennsylvania
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  Michael A. Rosenthal (pro hac vice)
  Mitchell A. Karlan (pro hac vice)
  James Hallowell (pro hac vice)
  Keith R. Martorana (pro hac vice)
  Seth M. Rokosky (pro hac vice)
  GIBSON, DUNN & CRUTCHER LLP
  200 Park Avenue
  New York, New York 10166
  mrosenthal@gibsondunn.com
  mkarlan@gibsondunn.com
  jhallowell@gibsondunn.com
  kmartorana@gibsondun.com
  srokosky@gibsondunn.com

  Additional Counsel for National Union Fire Insurance Company of
  Pittsburgh, Pa., Lexington Insurance Company, Landmark Insurance
  Company, and the Insurance Company of the State of Pennsylvania

  David M. Fournier (DE Bar No.             David M. Fournier (DE Bar No.
  2812)                                     2812)
  Marcy J. McLaughlin Smith (DE             Marcy J. McLaughlin Smith (DE
  No. 6184)                                 No. 6184)
  TROUTMAN PEPPER                           TROUTMAN PEPPER
  HAMILTON SANDERS LLP                      HAMILTON SANDERS LLP
  Hercules Plaza                            Hercules Plaza, Suite 5100
  1313 Market Street                        1313 Market Street
  Suite 5100                                P.O. Box 1709
  P.O. Box 1709                             Wilmington, DE 19899-1709
  Wilmington, DE 19899-1709                 Telephone: 302.777.6500
  Telephone: 404.885.3000                   Facsimile: 302.421.8390
  david.fournier@troutman.com               david.fournier@troutman.com
  marcy.smith@troutman.com                  marcy.smith@troutman.com

  -and-                                     -and-




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  Harris B. Winsberg (pro hac vice)      Harris B. Winsberg (pro hac vice)
  Matthew G. Roberts (pro hac            Matthew G. Roberts (pro hac
  vice)                                  vice)
  PARKER, HUDSON, RAINER &               PARKER, HUDSON, RAINER &
  DOBBS LLP                              DOBBS LLP
  303 Peachtree Street NE                303 Peachtree Street NE
  Suite 3600                             Suite 3600
  Atlanta, GA 30308                      Atlanta, GA 30308
  Telephone: 404.420.4313                Telephone: 404.420.4313
  Facsimile: 404.522.8409                Facsimile: 404.522.8409
  hwinsberg@phrd.com                     hwinsberg@phrd.com
  mroberts@phrd.com                      mroberts@phrd.com

  -and-                                  -and-

  Margaret H. Warner (pro hac            Todd C. Jacobs (pro hac vice)
  vice)                                  John E. Bucheit (pro hac vice)
  Ryan S. Smethurst (pro hac vice)       Paul J. Esker (pro hac vice)
  Alex M. Spisak (pro hac vice)          BRADLEY RILEY JACOBS PC
  McDERMOTT WILL & EMERY                 500 West Madison Street
  LLP                                    Suite 1000
  The McDermott Building                 Chicago, IL 60661
  500 North Capitol Street, NW           Telephone: 312.281.0295
  Washington, DC 20001-1531              tjacobs@bradleyriley.com
  Telephone: 202.756.8228                jbucheit@bradleyriley.com
  Facsimile: 202.756.8087                pesker@bradleyriley.com
  mwarner@mwe.com
  rsmethurst@mwe.com                     Counsel for National Surety
  aspisak@mwe.com                        Corporation and Interstate Fire &
                                         Casualty Company
  Counsel for Allianz Global Risks
  US Insurance Company




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  Kathleen M. Miller (No. 2898)             Paul Logan (No. 3339)
  SMITH, KATZENSTEIN &                      POST & SCHELL, P.C.
  JENKINS LLP                               300 Delaware Avenue, Suite
  1000 West Street, Suite 501               1380
  P.O. Box 410                              Wilmington, DE 19801
  Wilmington, DE 19899                      Telephone: (302) 251-8856
  Telephone: (302) 652-8400                 Email: plogan@postschell.com
  kmiller@skjlaw.com
                                     John C. Sullivan (pro hac vice)
  Ronald P. Schiller (pro hac vice)  Kathleen K. Kerns (pro hac vice)
  Matthew A. Hamermesh (pro hac      POST & SCHELL, P.C.
  vice)                              Four Penn Center – 13th Floor
  HANGLEY ARONCHICK SEGAL 1600 John F. Kennedy
  PUDLIN & SCHILLER                  Boulevard
  One Logan Square, 27th Floor       Philadelphia, PA 19103
  Philadelphia, PA 19103             Telephone: (215) 587-1000
  T: (215) 568-6200                  jsullivan@postschell.com
  F: (215) 568-0300                 kkerns@postschell.com
  E: rschiller@hangley.com
  mhamermesh@hangley.com             -and-

  Counsel for Arch Insurance                George R. Calhoun (pro hac vice)
  Company                                   IFRAH PLLC
                                            1717 Pennsylvania Avenue,
                                            N.W. Suite 650
                                            Washington, DC 20006
                                            Telephone: (202) 840-8758
                                            george@ifrahlaw.com
                                        Counsel for Argonaut Insurance
                                        Company and Colony Insurance
                                        Company




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  Michael J. Joyce (No. 4563)              Maria Aprile Sawczuk (DE
  JOYCE, LLC                               #3320)
  1225 King Street, Suite 800              GOLDSTEIN & MCCLINTOCK
  Wilmington, DE 19801                     LLLP
  Telephone: (302) 388-1944                501 Silverside Road
  Email: mjoyce@mjlawoffices.com           Wilmington, DE 19809
                                           302-444-6710
  -and-                                    marias@goldmclaw.com

  Kevin Coughlin (pro hac vice)            -and-
  Lorraine Armenti (pro hac vice)
  Michael Hrinewski (pro hac vice)         Laura McNally (pro hac vice)
  COUGHLIN MIDLIGE &                       Emily Stone (pro hac vice)
  GARLAND, LLP                             LOEB & LOEB LLP
  350 Mount Kemble Avenue                  321 N. Clark Street, Suite 2300
  PO Box 1917                              Chicago, IL 60654
  Morristown, NJ 07962                     312-464-3155
  Telephone: (973) 267-0058                lmcnally@loeb.com
  Facsimile: 973-267-6442                  estone@loeb.com
  kcoughlin@cmg.law
  larmenti@cmg.law                         David Christian (pro hac vice)
  mhrinewski@cmg.law                       DAVID CHRISTIAN
                                           ATTORNEYS LLC
  -and-                                    105 W. Madison St., Suite 1400
                                           Chicago, IL 60602
  Britton C. Lewis                         Telephone: 312-282-5282
  John M. Flynn                            dchristian@dca.law
  CARRUTHERS & ROTH, P.A.
  235 N. Edgeworth Street                  Counsel for The Continental
  P.O. Box 540                             Insurance Company and
  Greensboro, NC 27401                     Columbia Casualty Company
  Telephone: (336) 478-1146
  Facsimile: (336) 478-1145
  jmf@crlaw.com
  bcl@crlaw.com

   Counsel for Arrowood
   Indemnity Company



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  Brian A. Sullivan (No. 2098)          Kathleen M. Miller (DE Bar No.
  WERB & SULLIVAN                       2898)
  LEGAL ARTS BUILDING                   SMITH, KATZENSTEIN &
  1225 N. King Street                   JENKINS LLP
  Suite 600                             1000 West Street, Suite 501
  Wilmington, Delaware 19801            P.O. Box 410
  Telephone: (302) 652-1100             Wilmington, DE 19899
  Cell: (302) 757-9932                  Telephone: (302) 652-8400
  Facsimile: (302) 652-1111             Email: kmiller@skjlaw.com
  Email:
  bsullivan@werbsullivan.com            -and-

  John E.W. Baay II (pro hac vice)      Mary E. Borja (pro hac vice)
  GIEGER LABORDE &                      Gary P. Seligman (pro hac vice)
  LAPEROUOSE, LLC                       Ashley L. Criss (pro hac vice)
  701 Poydras Street                    WILEY REIN LLP
  Suite 4800                            2050 M Street NW
  New Orleans, LA 70139                 Washington, DC 20036
  Tel.: 504-561-0400                    Phone: (202) 719-7000
  Fax: 504-561-1011                     Email: mborja@wiley.law
  Email: jbaay@glllaw.com               gseligman@wiley.law
                                        acriss@wiley.law
  -and-
                                     Counsel for General Star
  William H. White Jr (pro hac vice) Indemnity
  KIERNAN TREBACH LLP                Company
  1233 20th Street, NW
  8th Floor
  Washington, DC 20036
  Tel.: 202-712-7000
  Fax: 202-712-7100
  Email:
  wwhite@kiernantrebach.com

  Counsel for Gemini Insurance
  Company




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  Bruce W. McCullough (No. 3112)         Kathleen M. Miller (No. 2898)
  BODELL BOVÉ, LLC                       SMITH, KATZENSTEIN
  1225 N. King Street, Suite 1000        & JENKINS LLP
  Wilmington, Delaware 19801-            1000 West Street, Suite 1501
  3250                                   P.O. Box 410
  Telephone: (302) 655-6749              Wilmington, DE 19899 [Courier
  bmccullough@bodellbove.com             19801]
                                         Telephone: (302) 652-8400
  -and-                                  Facsimile: (302) 652-8405
                                         kmiller@skjlaw.com
  Bruce D. Celebrezze (pro hac vice)
  CLYDE & CO US LLP                      and
  150 California Street | 15th Floor
  San Francisco, California 94111        Lloyd A. Gura (pro hac vice)
  Telephone: (415) 365-9800              Pamela J. Minetto (pro hac vice)
  Facsimile: (415) 365-9801              MOUND COTTON WOLLAN &
  bruce.celebrezze@clydeco.us            GREENGRASS LLP
                                         One New York Plaza 44th Floor
  Konrad R. Krebs (pro hac vice)         New York, NY 10004
  CLYDE & CO US LLP                      Tel: (212) 804-4282
  340 Mt. Kemble Avenue | Suite          lgura@moundcotton.com
  300                                    pminetto@moundcotton.com
  Morristown, NJ 07960
  Telephone: (973) 210-6700               Counsel for Indian Harbor
  Facsimile: (973) 210-6701              Insurance Company, on behalf of
  konrad.krebs@clydeco.us                itself and as successor in interest
                                         to Catlin Specialty Insurance
  -and-                                  Company

  David Christian (pro hac vice)
  DAVID CHRISTIAN
  ATTORNEYS LLC
  105 W. Madison St., Suite 1400
  Chicago, Illinois 60602
  Telephone: (312) 282-5282
  dchristian@dca.law




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  Counsel for Great American
  Assurance
  Company, f/k/a Agricultural
  Insurance Company; Great
  American E&S Insurance
  Company, f/k/a Agricultural
  Excess and Surplus Insurance
  Company; and Great American
  E&S Insurance Company

  R. Karl Hill (DE Bar No. 2747)         Thaddeus J. Weaver (DE Bar. No.
  SEITZ, VAN OGTROP &                    2790)
  GREEN, P.A.                            DILWORTH PAXSON LLP
  222 Delaware Avenue                    704 N. King Street, Suite 500
  Suite 1500                             P.O. Box 1031
  Wilmington, DE 19801                   Wilmington, DE 19899-1031
  Telephone: (302) 888-0600              (302) 571-8867 (telephone)
  khill@svglaw.com                       (302) 351-8735 (facsimile)
                                         tweaver@dilworthlaw.com
  -and-
                                         -and-
  CHOATE, HALL & STEWART
  LLP                                    William E. McGrath, Jr. (pro hac
  Douglas R. Gooding (pro hac            vice)
  vice)                                  Dilworth Paxson LLP
  Jonathan D. Marshall (pro hac          2 Research Way, Suite 103
  vice)                                  Princeton, NJ 08540
  Two International Place                (609) 924-6000 (telephone)
  Boston, MA 02110                       (215) 893-8537 (facsimile)
  Telephone: (617) 248-5000              wmcgrath@dilworthlaw.com
  dgooding@choate.com
  jmarshall@choate.com                   Counsel for Munich Reinsurance
                                         America, Inc., formerly known as
  -and-                                  American Re-Insurance Company




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  MINTZ, LEVIN, COHN,
  FERRIS, GLOVSKY AND
  POPEO PC
  Kim V. Marrkand (pro hac vice)
  One Financial Center
  Boston, MA 02111
  Telephone: (617) 542-6000
  kvmarrkand@mintz.com
  lbstephens@mintz.com

   Counsel for Liberty Mutual
   Insurance Company, The Ohio
   Casualty Insurance Company,
   Liberty Insurance Underwriters,
   Inc. and Liberty Surplus
   Insurance Corporation

  Stephen M. Miller (No. 2610)          Marla S. Benedek (No. 6638)
  Carl N. Kunz, III (No. 3201)          COZEN O’CONNOR
  MORRIS JAMES LLP                      1201 N. Market Street, Suite 1001
  500 Delaware Avenue, Suite            Wilmington, DE 19801
  1500                                  Telephone: (302) 295-2024
  Wilmington, Delaware 19801            Facsimile: (302) 250-4498
                                        mbenedek@cozen.com
  Telephone: (302) 888-6800
  Facsimile: (302) 571-1750
                                        Counsel for Traders and Pacific
  smiller@morrisjames.com
                                        Insurance Company, Endurance
  ckunz@morrisjames.com                 American Specialty Insurance
                                        Company, and Endurance
  -and-                                 American Insurance Company

  Margaret M. Anderson
  (pro hac vice)
  Ryan T. Schultz
  (pro hac vice)
  Adam A. Hachikian
  (pro hac vice)
  Kenneth M. Thomas


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   (pro hac vice)                          Louis J. Rizzo, Jr. (DE Bar No.
   FOX SWIBEL LEVIN &                      3374)
   CARROLL LLP                             REGER RIZZO & DARNALL LLP
   200 W. Madison Street, Suite            1521 Concord Pike Suite 305
   3000                                    Brandywine Plaza West
   Chicago, Illinois 60606                 Wilmington DE 19803
                                           Telephone: (302) 477-7100
   Telephone: (312) 224-1200
                                           Facsimile: (302) 652-3620
   Facsimile: (312) 224-1201
                                           lrizzo@regerlaw.com
   panderson@foxswibel.com
   rschultz@foxswibel.com                  Counsel for Travelers Casualty
   ahachikian@foxswibel.com                and Surety Company, Inc. (f/k/a
   kthomas@foxswibel.com                   Aetna Casualty & Surety
                                           Company), St. Paul Surplus
   Counsel for Old Republic                Lines Insurance Company and
   Insurance Company                       Gulf Insurance Company




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                       PRELIMINARY STATEMENT

        BSA’s bankruptcy plan was the result of an egregiously flawed

  process that neither BSA nor the claimants (the “plan proponents”) in the

  hundreds of pages of response briefs is able to successfully defend. They

  cannot defend it because seeking to maximize a debtor’s leverage to

  increase settlement pressure and compel non-settling insurers to make

  inflated payments to the estate, in abrogation of contractual rights and

  obligations, is not a permissible use of the bankruptcy system.

        The 82,000 claims to be paid under BSA’s plan bear no relationship

  to the liability BSA faced before the bankruptcy and, try as they might,

  BSA and the claimants do not show otherwise.           This unprecedented

  explosion in the number of claims was not merely a consequence of the

  bankruptcy.    As claimants’ counsel anticipated, it culminated in the

  trampling of the Certain Insurers’ rights. When the undisputed facts are

  viewed in their totality—as they must be—BSA’s plan, even with

  attempts to fix it imposed by the bankruptcy court, was not proposed in

  good faith and abrogates core contractual rights and obligations in BSA’s

  insurance policies, fundamentally altering the bargain central to those

  contracts. This Court should vacate confirmation of the plan.
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        The Bankruptcy Code does not guarantee BSA an exit from

  bankruptcy at all costs. Nor does the Code permit BSA to achieve its

  aims by rewriting its prepetition contracts at insurers’ expense. The

  limited purpose of Chapter 11 is to fairly reorganize the debtor’s property

  so that creditors can be compensated with the debtor’s estate as it may

  exist, including the debtor’s contracts. It is not to enlarge the estate’s

  liabilities so debtors and claimants’ attorneys gain leverage to pressure

  insurers into increasing their contributions in spite of their contracts.

        Despite the plan proponents’ attempts to explain away the

  bankruptcy court record, it is clear that the court below committed legal

  error when it confirmed the plan, for two independent reasons.

        First, the plan was not proposed in good faith. In attempting to

  show otherwise, the plan proponents make the same fundamental error

  as the bankruptcy court—focusing on isolated aspects of their conduct

  but ignoring the overall reality that BSA and the claimants’ lawyers

  teamed up in an effort to dramatically increase BSA’s potential liability

  while at the same time restricting non-settling insurers’ ability to protect

  the interests the insurers bargained for. That is the opposite of what the

  Bankruptcy Code requires.


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        The plan proponents offer isolated responses to many of the

  individual points in the Certain Insurers’ opening brief, attempting to

  bury this Court in a morass and frame the central issue as a mere

  “factual” dispute. But nothing they point to—endless “mediation” efforts

  among the plan proponents themselves, failed efforts to negotiate

  protections of non-settling insurers’ rights, plan improvements made

  only when mandated by the bankruptcy court—changes the analysis.

  The totality of the circumstances demonstrates that the plan was not

  proposed in good faith.

        BSA repeatedly acceded to proposals by claimants’ attorneys to

  inflate BSA’s supposed liability for abuse claims because it would be

  BSA’s insurers, not BSA, that would be called upon to pay. In doing so,

  BSA embraced efforts to increase the pressure on insurers that refused

  to support this plan so they would ultimately help fund this trust. Like

  coercive class certification, confirming this plan creates hydraulic

  pressure to settle irrespective of insurers’ contracts, regardless of any

  ability to assert coverage defenses down the road. That is why, even after

  the bankruptcy court rejected the prejudicial insurance findings,

  claimants’ counsel continue to support this unfair plan.


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        Even on appeal, BSA proclaims its insurers’ contractual rights are

  preserved while, at the same time, suggesting they may not be because

  BSA relented to the demands of claimants’ attorneys. The claimants’

  attorneys, for their part, now advance entirely new arguments on appeal

  about how the plan in fact can assign BSA’s contractual rights without

  any of the corresponding burdens. All of this is inconsistent with the

  purposes of the Bankruptcy Code and tolerating it would only encourage

  further misconduct in mass tort bankruptcies, require bankruptcy courts

  to address thousands of illegitimate claims, and prejudice those

  claimants with valid claims. It cannot be squared with a debtor’s good

  faith obligations.

        Second, the bankruptcy court committed legal error when it

  concluded that BSA’s plan does not impermissibly abrogate the insurers’

  contracts.   As explained by Wharton Professor Scott Harrington in

  unrebutted expert testimony, the operative insurance contracts contain

  fundamental rights and obligations, including but not limited to the

  rights of the insurer to defend the insured, associate in any defense,

  investigate applicable legal liability, and consent to any settlements, and

  the obligation of the insured to cooperate in defense.


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        These and other protections are paramount for insurers because

  they guard against exactly the sort of misalignment between claimants

  and the insured that gave rise to this plan. BSA and the plan proponents

  barely grapple with this issue in their mountain of paper, and when they

  do, they contradict themselves about what the plan is designed to do, and

  provide no legal justification for failing to preserve insurers’ contractual

  rights. They also advance an erroneous legal theory that they do not have

  to assign BSA’s contractual obligations under Bankruptcy Code § 363—

  an argument so wrong that they did not advance it below.                The

  Bankruptcy Code does not permit the plan’s assignment of insurance

  contract rights without BSA’s insurance contract obligations.

        The plan proponents’ principal argument is that this Court and the

  bankruptcy court should ignore this obvious violation of the Bankruptcy

  Code now because the insurers can simply try their luck later, by raising

  the issue in coverage litigation. But the fact that insurers can raise

  arguments in separate litigation does not mean that the plan here leaves

  their contractual rights and obligations intact. If the plan urged by BSA

  impermissibly attempts to abrogate those rights and obligations, as this




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  one does, it is not confirmable under bankruptcy law, regardless of what

  might happen in coverage litigation.

        This of course makes sense. If the plan is confirmed, insurers will

  be called upon to pay thousands of questionable claims that BSA chose

  not to contest without ever permitting its insurers to effect a proper

  resolution or defense as required in their contracts. Just as in the class

  action context, the resulting potential liability would create a hydraulic

  settlement pressure on terms wholly unrelated to insurers’ contracts,

  regardless of the scope of insurers’ rights to litigate coverage issues. BSA

  claims these concerns are “absurd,” but courts routinely recognize them

  in many different litigation contexts, including the mass tort bankruptcy

  plan confirmation context. The fact that the Certain Insurers, to BSA’s

  dismay, have remained steadfast in refusing to support this plan

  confirms only the extent to which they will be prejudiced by it.

                                     * * *

        As the Chapter 11 debtor, BSA has the burden to put forth a plan

  that complies with the Bankruptcy Code. It did not, and cannot, meet

  that burden. BSA partnered with the claimants’ lawyers, excluded the

  Certain Insurers from its plan negotiations, and went to great lengths to


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  restrict its own insurers from defending themselves. After decades of

  responding to allegations of sexual abuse, BSA wants to exit bankruptcy

  without even an obligation to cooperate with its insurers, either in the

  bankruptcy or after it.

        BSA cannot exit bankruptcy through an overreaching plan that

  denies insurers’ rights and ignores its obligations under prepetition

  contracts. BSA should instead propose a plan that is consistent with the

  Bankruptcy Code. This Court should reverse.




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                                 ARGUMENT

  I.    THE BANKRUPTCY COURT ERRED IN CONFIRMING A BANKRUPTCY
        PLAN THAT WAS NOT PROPOSED IN GOOD FAITH.

        The plan proponents devote page after page dissecting individual

  pieces of evidence in an attempt to demonstrate that their plan was

  proposed in good faith. But their effort to conjure up a factual dispute

  cannot excuse the legal error committed by the bankruptcy court. When

  viewed in its totality—as it must be—the record shows a plan not

  proposed in good faith.

        A.    The Standard of Review Is De Novo Because the
              Bankruptcy Court Committed Legal Error.

        The bankruptcy court committed legal error because it incorrectly

  concluded, based upon the undisputed evidence, that the plan was

  proposed in “good faith.”    11 U.S.C. § 1129(a)(3). In coming to that

  conclusion, the court failed to consider the totality of the circumstances

  giving rise to the plan’s proposal (see Ins. Br. at 59-67), erroneously

  concluded that certain mandated improvements to the plan (such as

  removal of the prejudicial insurance findings) were sufficient to remedy

  a lack of good faith (see Ins. Br. at 68-74), and inappropriately

  emphasized the testimony of a single BSA lawyer who claimed that he

  subjectively intended to protect insurers’ rights (see Ins. Br. at 75-76).
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        Those are legal errors, and this Court reviews them “de novo.” Luo

  v. Melinta Therapeutics, Inc., 2021 WL 965614, at *7 (D. Del. Mar. 15,

  2021). “Good faith presents mixed questions of law and fact” (In re WR

  Grace & Co., 729 F.3d 332, 346 (3d Cir. 2013)), and “[m]ixed questions of

  law and fact are reviewed under a mixed standard, affording a clearly

  erroneous standard to factual findings, but exercising plenary review of

  the bankruptcy court’s interpretation and application of those facts to

  legal precepts.” BSA Br. at 7 (emphasis added); see, e.g., In re Lernout &

  Hauspie Speech Prods. N.V., 308 B.R. 672, 675 (D. Del. 2005).

        Thus, “[w]hether a plan was proposed in good faith is a legal

  question subject to de novo review by the district court, but factual

  findings supporting the bankruptcy court’s determination that a plan

  was proposed in good faith should be reviewed for clear error.” Luo, 2021

  WL 965614, at *7 (emphasis added); see, e.g., In re HomeBanc Mortg.

  Corp., 945 F.3d 801, 811 (3d Cir. 2019) (“A bankruptcy court’s basic

  factual findings are examined for clear-error while the ultimate fact of

  good faith receives plenary review.”).

        BSA points out that factual findings are reviewed for “clear error.”

  BSA Br. at 37-40. But the Certain Insurers do not challenge “factual


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  findings” made by the bankruptcy court; nor are there material “factual”

  disputes over the record in this appeal.      The question that must be

  considered in this appeal is whether the relevant facts, when viewed in

  their totality and applied to the relevant legal precepts, demonstrate that

  BSA has carried its burden to prove the plan was proposed in “good faith”

  as Congress intended the meaning of that term in the Bankruptcy Code.

        B.    BSA Cannot Dispute that the Bankruptcy Court Failed
              to Consider the Totality of the Plan Circumstances and
              Apply Them to the Correct Legal Precepts.

        As set forth in the Certain Insurers’ opening brief, the bankruptcy

  court never properly considered whether the plan was proposed in “good

  faith.” It analyzed the conduct of the plan proponents piecemeal and

  concluded that certain individual circumstances, in isolation, did not

  themselves indicate “bad faith.” (A. 223 (negotiations over plan).)

        BSA argues that the bankruptcy court conducted an appropriate

  analysis because it “analyzed and cited to the record evidence hundreds

  of times.” BSA Br. at 52; see BSA Br. at 52-54. But the issue is not

  whether the bankruptcy court cited evidence (of course it did); it is that

  the court failed to appropriately consider the totality of the circumstances

  surrounding each of the “steps” in its analysis (Claimant Br. At 21-22),


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  let alone determine whether the plan, as a whole, was proposed fairly and

  facilitates the objectives of the Bankruptcy Code, as was required.1

          BSA simply ignores the Certain Insurers’ core argument regarding

  BSA’s lack of good faith—namely, that the bankruptcy court repeatedly

  analyzed circumstances in isolation, and then held that each of those

  circumstances, although concerning, was not so egregious as to deny

  confirmation. For example, the court “reject[ed] out-of-hand the notion

  that this explosion of claims, alone, could be grounds for denial of

  confirmation.” (A. 230.) The court similarly held, in isolation, that the

  conduct of claimants’ attorneys in signing claim forms and ginning up




      1
        All of this is why BSA (and the bankruptcy court below) repeatedly
  attempt to knock down strawman arguments that the Certain Insurers
  have never advanced in this case. (Compare, e.g., A. 231 (“A debtor’s
  ability to obtain a good faith finding necessary for confirmation cannot
  turn on the number of claims filed, whether plaintiff lawyers advertised
  for clients, or whether plaintiff lawyers filed claims in derogation of
  applicable rules.” (emphasis added)), with, e.g., BSA Br. at 88
  (“[B]ankruptcy law provides no ground for defeating confirmation based
  on the volume of claims brought against the BSA … the logical extension
  of [such an] argument is that no entity with mass tort liabilities can file
  a bankruptcy case because claims might increase exponentially.”); see
  also, e.g., A. 238 (“Accepting Professor Harrington’s opinions leads to . . .
  conclusions, all of which I reject. One, a company facing mass tort
  liability cannot file bankruptcy because an insurer’s quantum of liability
  will, of necessity, increase….” (emphasis added)).)
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  claims was not “proportional” to denying confirmation. (A. 231.) And

  after terminating BSA’s nearly year-long effort to propose court findings

  that would prejudice insurers in coverage disputes, the court concluded,

  again in isolation, that “an agreement to request a finding from the court

  is not so egregious as to deny confirmation.” (A. 228; see, e.g., A. 238

  (“potential increase in the quantum of liability”), A. 229 (agreement to

  propose a Claims Matrix that was “deceptive” and “all optics”), A. 240-

  241 (agreement to pay time-barred and meritless claims).)

        Addressing these issues piecemeal, without stepping back and

  asking the broader “good faith” question, was error. The Bankruptcy

  Code requires that “the plan” be proposed in “good faith.” 11 U.S.C.

  § 1129(a)(3)) (emphasis added). Thus, the “important point of inquiry”

  for the good-faith requirement “is the plan itself and whether such plan

  will fairly achieve a result consistent with the objectives and purposes of

  the Bankruptcy Code.” In re Am. Cap. Equip., 688 F.3d 145, 156 (3d Cir.

  2012) (quotation marks omitted). Courts considering that must consider

  the “totality” of the circumstances surrounding the plan’s proposal. In re

  Exide Holdings, Inc., 2021 WL 3145612, at *11 (D. Del. July 26, 2021).

  The bankruptcy court never performed the required holistic analysis.


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        C.    BSA Cannot Dispute that It Proposed a Plan that
              Inflates Its Alleged Liability and Rewrites Insurance
              Contracts.

        As the Certain Insurers explained (Ins. Br. at 59-68), and BSA does

  not dispute, BSA aligned itself with claimants’ contingency attorneys

  who ginned up tens of thousands of claims that inflate BSA’s liability,

  then joined their effort to bind insurers to claim awards under the TDPs.

        The plan proponents attempt to infuse these disturbing facts with

  an aura of “good faith” by offering up a labyrinth of minutiae from the

  record that they hope will reflect positively on their plan nonetheless,

  such as their efforts to mediate with plan supporters, drafting of plan

  language that may have protected insurers’ rights before it was

  abandoned, and parts of their plan that the bankruptcy court directed to

  be improved.

        But none of these facts make any difference. However the plan

  proponents wish to frame it, the plan they negotiated seeks to inflate

  BSA’s liability for sexual abuse in order to give the plan proponents

  leverage over insurers while rewriting their contracts. That is not a

  proposal made in good faith.




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              1.   BSA Cannot Dispute that Claimants’ Attorneys
                   Solicited Thousands of Claims that Inflate BSA’s
                   Liability for Sexual Abuse.

        BSA does not dispute that claimants’ attorneys sought to profit by

  aggressively and misleadingly drumming up tens of thousands of claims

  on a contingency-fee basis. See Ins. Br. at 17-22; BSA Br. at 80, 82-83,

  89-90. Nor does it dispute that at least 85% of these claims face such

  profound legal hurdles that they would never even have been filed but-

  for the bankruptcy. (See, e.g., A. 2285-2287, 2425 (Bates); see also, e.g.,

  A. 3900-3901 (Rothweiler) (bankruptcy was only opportunity for 58,000

  to be compensated).

        Instead, BSA speculates that only an insignificant number of the

  claims are questionable. See BSA Br. at 79-82. But psychologists on both

  sides explained in unrebutted testimony that a significant number of the

  claims are likely fraudulent. (A. 3435-3436 (Conte), 3651 (Treacey).)2

  Even the bankruptcy court found, based on the record, that the likelihood



        2 Claimants’ counsel speculate that other factors amplified this
  explosion (see Claimant Br. at 36-39) but ignore their undisputed (and
  misleading) advertising and media efforts (see, e.g., A. 10796, 11376,
  11526-11527), and their own testimony that they engaged clients whom
  they never would have accepted, signed claim forms by the thousands,
  and “unleashed [a] Pandora’s box” of claimants coming forward (A. 3908
  (Rothweiler)). See Ins. Br. at 18-21.
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  of fraudulent claims is enough to expressly require the Settlement

  Trustee to design robust anti-fraud measures to disallow fraudulent

  claims before any payment is made by the trust. See BSA Br. at 83-84.

        As intended by the claimants’ attorneys, this nationwide campaign

  permitted them to control BSA’s bankruptcy. See Ins. Br. at 18-19. The

  explosion in claims created a constituency of more than 80,000 creditors,

  led by mass tort claimants’ counsel seeking the “Holy Grail,” from whom

  BSA required “overwhelming” support to exit bankruptcy.               These

  claimants’ counsel sought to secure proposal of a plan that would

  improperly expand BSA’s liability, to the prejudice of BSA’s insurers. See

  Ins. Br. at 23-51. And that is what they did.

              2.   BSA Cannot Dispute that It Abandoned its
                   Insurers and Aligned Itself with the Claimants.

        The Certain Insurers have demonstrated that, as claimants’

  counsel anticipated, rather than insisting on compensating only bona fide

  sexual abuse claimants, BSA proposed a plan that ensured that all

  82,000 claims, no matter how meritless or questionable, would be paid

  under its plan, while requiring BSA to provide little or no cooperation

  with insurers in asserting appropriate defenses to the claims. See Ins.

  Br. at 22, 25-28, 32-34, 74.

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        BSA contends that it always sought to design TDPs that would

  merely emulate its prepetition practices. See BSA Br. at 70-71, 75-76.

  But BSA cannot dispute that after capping its own liability for the

  explosion of claims, BSA joined with the claimants, contrary to its

  contracts, to obtain the overwhelming support it thought it needed to

  obtain releases for local councils and chartered organizations. See Ins.

  Br. at 39-40, 45-46; see also BSA Br. at 41-42 (seeking to “maximize

  recoveries for creditors”); Ins. Br. at 45-46 (reneging on Hartford

  settlement, causing Hartford to object to lack of good faith). BSA then

  embraced claimants’ proposed “changes to the Plan,” including the

  proposed findings to bind insurers and removal of language protecting

  insurers it had previously insisted be in the plan. (A. 12926-12929; see

  Ins. Br. at 37-45.)

        BSA repeatedly notes as a cure-all for its conduct that it engaged in

  numerous mediation sessions, including with insurers who ultimately

  settled. See BSA Br. at 23 n.13, 43-47. But BSA omits that when the

  Certain Insurers learned that BSA had already finished negotiating with

  claimants, the Certain Insurers offered to discuss TDPs that were

  “insurance neutral and consistent with [their] insurance policies,” but


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  BSA responded that to do so would “scuttle the deal” with claimants.

  (A. 12901-12904; see Ins. Br. at 44.) It was thus BSA who refused to

  “engage” with insurers in negotiating a fair plan that would account for

  the insurers’ contracts. BSA Br. at 73; see BSA Br. at 66 (claiming the

  Certain Insurers are “immune” to settlement).

               3.      BSA Cannot Dispute that It Improperly Sought
                       to Bind Insurers to the Settlement Trustee’s
                       Claim Determinations.

        As the Certain Insurers have detailed, after abandoning its

  insurers, BSA joined claimants’ attorneys’ years-long quest for the “Holy

  Grail”—insurance findings intended to bind non-settling insurers to pay

  claims based on claimant-friendly TDPs. See Ins. Br. at 23-24, 37-45, 63.

  BSA’s plan proponent allies repeatedly referred to these below as the

  “insurance” findings (see, e.g., A. 4494, 4551), emphasizing their

  importance as plan components (see, e.g., A. 6318-6319 (Patton) (findings

  were “essential” because they would “limit the insurers’ ability” to

  “escape their coverage obligations” due to arguments about the TDPs)).

        Now, however, BSA seeks to downplay these prejudicial findings as

  just “certain insurance related terms” of a prior plan that was never

  confirmed.        BSA Br. at 97-98.   BSA even concedes that the court


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  “correctly” rejected the findings because there is no “right[] to resolve

  coverage disputes” in a bankruptcy proceeding. BSA Br. at 119-120. And

  BSA’s sole rationale for its lengthy effort to include the findings is that

  they were “part of a compromise” with claimants’ attorneys to prevent

  insurers from raising “future legal challenges to the Settlement Trust

  and the TDP.” BSA Br. at 101.

        But that is exactly the point.      BSA knew the court findings it

  pleaded for in concert with the claimants’ attorneys were designed to

  hobble non-settling insurers by endorsing TDP awards as “binding” on

  them through res judicata, as determining claimants’ right to payment,

  and as giving rise to determinations that are purportedly de facto “fair

  and equitable.” See Ins. Br. at 42-44. BSA’s belated admission in its brief

  that the bankruptcy court “correctly” refused to prejudge insurance

  coverage issues in this way is a concession that BSA proposed a plan that

  it knew was contrary to bankruptcy law.

        As even the claimants now concede, the TDPs create insurance

  coverage defenses insofar as they “result in unreasonable, unsupportable,

  or inflated claim values.” Claimant Br. at 44. The claimants’ attorneys,

  again leveraging insurers, hoped to argue in coverage disputes that non-


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  settling insurers must “accept” the Settlement Trustee’s awards for

  coverage purposes, regardless of any coverage defenses or violation of

  insurer rights and BSA’s obligations under its contracts. Claimant Br.

  at 45 n.87 (quotation marks omitted)); see Claimant Br. at 43-45 (insurers

  should not be “exempt from … a court order” they “had the opportunity

  to contest”)).

        BSA knew the claimants’ lawyers intended to use these provisions

  to prejudice insurers. Indeed, those lawyers argued in open court that

  the insurance findings proposed by BSA were appropriate because they

  were designed to prevent the insurers from “relitigating” issues relating

  to the TDPs and the Trustee’s awards (A. 12969-12970), acknowledging

  that the “Trustee may seek to use the Findings in post-confirmation

  coverage litigation” because the insurers “had adequate notice of the

  bankruptcy       proceedings   and   an   opportunity”    to   contest   the

  reasonableness of the Settlement Trustee’s claim awards in the

  bankruptcy court. (12970-12971; see, e.g., A. 6318-6320 (Patton) (FCR

  testifying that the findings “are essential” because they limit insurers’

  ability “to escape their coverage obligations”); A. 4202-4203 (Amala)

  (“Generally true” that claimants’ lawyers’ strategy was to seek binding


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  TDPs “to create a precedent in this case that they could use in coverage

  litigation.”).)

        Having failed to persuade the bankruptcy court to adopt these

  insurance findings, BSA and the plan proponents now argue that all of

  their conduct leading up to the plan’s confirmation is “irrelevant” because

  the Bankruptcy Code permits debtors to modify their plan, and the

  Certain Insurers cannot challenge a “Plan based on terms that are not in

  it.” BSA Br. at 97-102; Claimant Br. at 51-52; see also, e.g., BSA Br. at

  98, 102-03 (making a similar argument about the proposal of Professor

  Green as Settlement Trustee); BSA Br. at 83-84, 89-90 (same for plan’s

  lack of anti-fraud measures).

        But as BSA concedes (see BSA Br. at 43), the bankruptcy laws

  require that a debtor propose a plan in good faith. 11 U.S.C. § 1129(a)(3).

  The relevant plan includes what BSA proposed and supported at the

  confirmation hearing, which was built on the prejudicial findings. See 11

  U.S.C. § 1128. Indeed, BSA repeatedly cites to the court’s confirmation

  opinion, which rejected its proposed findings, because that opinion

  “approv[ed] the key elements of the Plan.” BSA Br. at 32.




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        Despite BSA’s protestations, and while the plan as confirmed has

  been periodically modified, the good faith requirement “speaks more to

  the process of plan development than to the content of the plan.” In re

  RTI Holding Co., LLC, 2021 WL 4994414, at *9 (Bankr. D. Del. Oct. 27,

  2021) (citation omitted); see, e.g., In re Emerge Energy Servs. LP, 2019

  WL 7634308, at *16 (D. Del. Dec. 5, 2019) (same). Courts accordingly

  “scrutin[ize] … the circumstances surrounding” the plan’s proposal,

  including plan negotiations. American United Mut. Life Ins. Co. v. City

  of Avon Park, Fla., 311 U.S. 138, 145-46 (1940). And where—as here—

  the circumstances surrounding the plan’s proposal, including the

  proposal of additional insurance findings at claimants’ insistence after

  the confirmation opinion (see infra Pt. I.C.8), demonstrate unfairness

  and lack of adherence to the objectives of the Bankruptcy Code, the

  proposal was not made in good faith.

        To be sure, the bankruptcy court improved the plan by directing

  BSA to strike these findings and permitting non-settling insurers to

  attempt to defend themselves in coverage litigation. See BSA Br. at 61-

  62, 64-65, 97-98.    But the fact that the bankruptcy court, not BSA,

  mandated that improvement—which BSA now admits was correct—


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  simply confirms that BSA’s plan was not proposed in good faith.

  American Capital Equip., 688 F.3d at 156, 158; see infra Pt. II.

        The Certain Insurers have never advanced the “absurd” argument

  posited by BSA that proposal of an inappropriate plan “permanently

  tainted the debtors” and prevents them from ever modifying their plan

  “to comply with the bankruptcy court decisions.” BSA Br. at 100-101; see

  Claimant Br. at 52.       But a court must consider the circumstances

  surrounding the plan’s proposal in determining whether the plan was

  proposed fairly. And simply modifying the plan to remove a few of these

  provisions does not erase the lack of good faith surrounding the plan’s

  proposal. See, e.g., In re Coram Healthcare Corp., 271 B.R. 228, 234-35,

  237, 240 (Bankr. D. Del. 2001) (attempts to “sprinkle holy water” on

  debtors’ plan, which embraced a concerning conflict of interest, did not

  “evidence good faith”).

              4.   BSA Cannot Dispute that It Embraced Efforts to
                   Abrogate Its Insurance Contracts.

        As the Certain Insurers explain, because BSA proposed a plan that

  was anticipated to bind insurers in coverage litigation, BSA was

  necessarily seeking to disregard BSA’s insurance contracts, which were

  intended to align BSA with its insurers in settling claims before such

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  litigation. BSA nevertheless proposed a plan that assigned all of its

  insurance rights to the settlement trust without any of its own

  obligations, making no provision for insurer rights that BSA agreed

  would be exercised before any settlements. See Ins. Br. at 25, 32-34.

        As explained more fully below and in the Certain Insurers’ opening

  brief, the operative insurance contracts contain numerous fundamental

  rights for insurers, including but not limited to insurers’ right to defend

  the insured, associate in defense, consent to any settlements, and have

  their insured cooperate in defense. (A. 233.) See infra Pt. II.

        BSA and the claimants now argue there has been no harm because

  BSA’s outside insurance counsel supposedly ensured, at least, that the

  plan “explicitly preserves any [coverage] defenses that the Certain

  Insurers may have.” BSA Br. at 62-63, 69, 72; Claimant Br. at 34-35.

  But BSA does not dispute that the very same lawyer removed, at

  claimants’ insistence, numerous protections for insurer rights that he had

  previously believed were necessary.         BSA Br. at 72 (“Mr. Azer

  painstakingly walked the bankruptcy court through multiple versions of

  negotiated TDPs, demonstrating how and where the BSA protected any

  existing rights of the Insurers,” and how they were “modified or


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  eliminated after negotiations with counsel for the Coalition.” (quotation

  marks omitted)). And preserving the ability to assert coverage defenses

  is not equivalent to preserving rights to cooperate with the insured in

  defense or settlement of claims in the first instance. See infra Pt. II.B.

        Claimants’ intentions were clear in these negotiations because that

  same lawyer rendered any remaining protections of insurers’ rights in

  the plan linguistically circular and facially illusory by accepting

  claimants’ demand to make those protections subject to the “Insurance

  Assignment”—which assigns BSA’s rights only, and not its obligations—

  as well as to the remainder of the plan (including the insurance findings),

  and to “applicable law” (which claimants continue to argue abrogates

  BSA’s contracts). See Ins. Br. at 25, 37-51; BSA Br. at 62-63; Claimant

  Br. at 35-36; see infra Pt. II. These changes were necessary for claimants’

  proposed findings to have any effect in a coverage court.

        To be sure, BSA’s insurance lawyer contended below that he now

  personally “believes [the language in Article V.C of the TDP]

  encompasses all of the language that was deleted in the numerous

  provisions in the TDP and achieves his goal of preserving the Insurers’

  rights under their contracts.” BSA Br. at 72 (quotation marks omitted);


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  see BSA Br. at 63-64, 75-76. BSA thus argues that it never “colluded with

  the [claimants] to intentionally deprive insurers of their rights.” BSA Br.

  at 77-78 (emphasis added) (quotation marks omitted).

        But neither “collusion” nor “intent” are required to reverse

  confirmation of this plan (American Capital Equip., 688 F.3d at 157-58;

  In re SGL Carbon Corp., 200 F.3d 154, 165 (3d Cir. 1999)), and as the

  Certain Insurers detail, the totality of the circumstances demonstrate

  that BSA was complicit in the claimants’ plan to bind insurers in

  coverage litigation and deprive them of their rights.       BSA knew the

  claimants who were proposing its plan language did not believe its

  contracts were fully preserved because BSA simultaneously proposed

  findings the claimants had concocted to abrogate such protections, along

  with numerous other steps to prejudice the insurers, sometimes

  unbeknownst to the same insurance lawyer. See Ins. Br. at 37-51, 54-55.

        BSA’s willful blindness is ongoing. BSA’s insurance lawyer has

  made clear that the plan protects the rights of non-settling insurers only

  “to the extent any such rights exist,” while claimants have continued to

  press the argument that in fact, as a result of the plan they helped draft,

  such rights no longer exist. (See, e.g., A. 6171, 6176, 6183.) And while


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  BSA continues to claim that “none of the Insurers’ rights or obligations

  were being modified” by the plan (BSA Br. at 74-75), and that insurers

  “will be able to defend against coverage to the same extent they would

  have” absent the plan (BSA Br. at 64 (emphasis added)), the plan

  proponents’ own briefs here call that claim into doubt. See infra Pt. II.

        Claiming that insurers maintain contractual rights while also

  claiming those rights may no longer exist is the opposite of “honesty and

  good intentions,” and confirming a plan where the debtor and its plan

  supporters continue to contradict each other about what they believe the

  plan to do would hardly discourage “debtor misconduct.” Exide, 2021 WL

  3145612, at *11; see American Capital Equip., LLC, 688 F.3d at 156-58.

              5.   BSA Cannot Dispute that It Proposed TDPs That
                   Inflate Its Own Liability for Abuse Claims.

        Bankruptcy participants have a right to expect a good faith plan to

  include TDPs that compensate claimants only for BSA’s actual abuse-

  claim liability, and nothing more.        But the claimants’ attorneys,

  supported by BSA, were seeking to impair insurers’ rights by drafting

  TDPs that were likely to result in awards that were far more favorable

  to claimants than judgments or settlements were in the tort system.



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        As the Certain Insurers explained, BSA collaborated with

  claimants’ counsel to insert numerous plan provisions that would

  leverage insurers and provide a windfall to the claimants’ attorneys by

  creating a mechanism to pay thousands of time-barred and meritless

  claims that BSA never would have faced, let alone paid, in the tort

  system, at amounts exceeding its prepetition settlements. See Ins. Br. at

  25-31.

        In response, BSA concedes, as it must, that the TDPs are “different

  from the tort system.” BSA Br. at 104. Indeed, absent the inflationary

  TDPs, at least 70,000 of the 82,000 claims never even would have been

  brought in the tort system (see Ins. Br. at 20); the rest would have been

  resolved in an “adversarial system” with BSA seeking to position cases

  “towards a more favorable settlement.” (A. 5948 (Griggs); compare A.

  1182-1183, 1208-1236 (Griggs), with A. 3976, 3978, 4016-4017 (Bitar).)

  See Ins. Br. at 13-15.

        BSA contends that there is “no evidence” to dispute the testimony

  of BSA’s lawyers that the TDPs are consistent with BSA’s prepetition

  practices.   See BSA Br. at 55-61, 119.         Not so.     BSA’s national

  coordinating counsel testified that BSA defended itself prepetition to the


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  fullest extent “provided by the law,” a far cry from agreeing in advance

  to settle 82,000 claims under the current TDPs. (A. 1237-1238 (Griggs).)

  BSA’s insurance lawyer similarly acknowledged that the plan may have

  the effect of modifying insurers’ contractual rights—something that BSA

  never attempted to do prepetition—to the extent the court approved the

  plan “as part of a mass tort bankruptcy.” (A. 1770-1771 (Azer).)

        Further, BSA’s own abuse claims expert, Michael Burnett (see BSA

  Br. at 58), conceded that the TDPs (which place a “heavy emphasis” on

  the Settlement Trustee’s ability to resolve abuse claims) differ from

  BSA’s prepetition practices in the tort system in many ways, such as by

  eliminating defense counsel, BSA’s pursuit of an appropriate defense,

  and even a neutral factfinder. (A. 1391, 1402-1404, 1406-1407 (Burnett).)

        As for the TDPs’ awards to claimants, BSA does not dispute that

  they result in lucrative awards upon a mere showing of a probability of a

  possibility—a standard with no analog in the tort system. See Ins. Br. at

  26-27. And while the TDPs provide for claims payments upon a mere

  showing of “legal responsibility,” BSA never explains how settlement

  upon such a vague showing is possibly analogous to BSA’s pre-petition




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  practices. See BSA Br. at 95-97. Indeed, the TDPs do not require the

  Settlement Trustee to detail the basis for that settlement.

        BSA likewise attempts to justify its proposal of negligence as a TDP

  aggravating factor, rather than as a prerequisite for recovery, because

  negligence is supposedly “subsumed” within the prerequisites for

  recovery. BSA Br. at 95-96. But that is simply not what the TDPs say,

  and BSA points to nothing in the plan that would require the Settlement

  Trustee to diverge from its terms.

        Nor has there been any showing that the TDP claim awards will

  bear any relationship to BSA’s prepetition litigation outcomes. BSA

  concedes that the purpose of the TDP Claims Matrix was originally to be

  “based on and consistent with” BSA’s historical settlements and litigation

  outcomes. BSA Br. at 55-56, 71; see Ins. Br. at 28-30. (See A. 12927-

  12928, 12934.)    But that is not what BSA actually proposed, and it

  ultimately conceded that the Claims Matrix in this plan bears no

  relationship to prepetition values.       See Ins. Br. at 30-31.   (See, e.g.,

  A. 2435 (Bates) (base matrix values for single-abuser penetration claims

  must be reduced by 90 percent), A. 2439 (Bates) (otherwise the numbers

  do not “make sense”).) Indeed, BSA now claims that the Claims Matrix


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  was “designed to be used by the Settlement Trustee to … replicate”

  prepetition values by somehow reverse-engineering claim awards to

  mirror prepetition litigation outcomes. BSA Br. at 56.

        While BSA says that the deceptive TDPs and Claims Matrix

  “replicate prepetition practices” and will not “result in inflated claim

  values” (BSA Br. at 59-60), what this actually means is that the

  Settlement Trustee will hopefully, somehow, apply them in the manner

  contemplated by Dr. Bates so that they replicate prepetition claim values.

  But requiring the Settlement Trustee to exercise this level of discretion

  in valuing such claims, with enormous discounts required to bring the

  vast majority in line with what claimants would have received in the tort

  system, and hoping that such discounts will be applied properly and

  accurately, is simply further pressure on insurers and the opposite of

  reasonably cabining the trustee’s discretion through an objective Claims

  Matrix that mandates mathematically calculated discounts. See Ins. Br.

  at 30-31.

        This is why the bankruptcy court refused to enter a finding that the

  base matrix values are based on BSA’s historical settlements and

  litigation outcomes. (A. 191-192.) After hearing the testimony of BSA’s


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  own expert, the court rightly found that the base matrix values “are not

  ‘magic number[s];’ rather, any number could be used”; and that “perhaps

  in many ways” the “use of the term ‘Base Matrix Value’ is deceptive” and

  “optics.” (A. 228-229.)

        Finally, the plan contemplates that statutes of limitations and

  repose will be a mitigating scaling factor rather than a bar to recovery.

  See Ins. Br. at 13-14, 19-20, 28-30. BSA’s expert, however, testified that

  the scaling factor for statutes of limitations was “simply the product of

  lawyers” negotiating the TDPs. (A. 2453-2454 (Bates).)

        BSA argues that “[c]laims subject to statute of limitation defenses

  were paid by the BSA and sometimes its insurers” in the tort system

  before the bankruptcy, often in egregious cases. See BSA Br. at 90-95.

  But BSA’s own expert explained that there are reasons not to consider

  extreme outlier cases and conceded that this factor was not based on

  historical data. (See, e.g., A. 2416-2417, 2421-2422, 2453-2454) (Bates).)

        And as BSA’s national coordinating counsel testified, few time-

  barred claims were asserted prepetition because statutes of limitations

  and repose were a “significant hurdle” that had a “substantial chilling

  effect on the filing of claims.” (A. 1187-1189, 5945 (Griggs).) BSA did not


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  even have to hire defense counsel in the majority of states because not a

  single claim was asserted there due to statutes of limitations. (A. 1185-

  1187 (Griggs).) By contrast, 65% of the claims to be paid by this plan are

  untimely under applicable statutes of limitations. See Ins. Br. at 19.

              6.   BSA Cannot Dispute that It Agreed to Claimants’
                   Attorneys’ Control Over the Settlement Trustee.

        As the Certain Insurers explained, having proposed a plan that

  entrusted the Settlement Trustee with enormous discretion to value

  claim awards in ways diverging from its prepetition experience, BSA

  compounded the problem by repeatedly proposing a plan that endorsed

  control over the Settlement Trustee by the same claimants’ counsel who

  had negotiated the TDPs in the first place. See Ins. Br. at 34-37.

        BSA does not dispute that it first acceded to the appointment of

  Professor Eric Green, who had extensive personal and professional

  relationships with claimants’ counsel. (A. 8834-8835.) BSA sees nothing

  wrong with this. See BSA Br. at 102-103. But the bankruptcy court had

  determined that Green was inappropriate even as a mediator. (A. 8835.)

  BSA nevertheless proceeded to propose Green as the Settlement Trustee

  and withdrew its proposal only at the last minute.



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        BSA also touts its subsequent proposal of the respected Judge

  Houser as trustee.     See BSA Br. at 49, 60.       But regardless of her

  qualifications, BSA does not dispute that Judge Houser would, under this

  plan, owe fiduciary duties to the trust for claimants’ benefit, and BSA, to

  the prejudice of its insurers, repeatedly embraced demands to allow

  claimants’ lawyers to dominate her affairs through rights given to the

  FCR and the STAC, including consent rights over her choice of staff and

  legal counsel. See Ins. Br. at 35-37.

        As Professor Jack Williams explained in unrebutted expert

  testimony, the plan creates a “mismatch in scope of fiduciary duties” that

  raises significant governance concerns because “the responsibility of the

  settlement trustee to act independently and to act in the best interest of

  all beneficiaries” means that Judge Houser has duties to all claimants,

  whereas the STAC members who have control over her actions have

  duties to their own clients and will act in their interests. (A. 3781.)

              7.   BSA Cannot Dispute that It Repeatedly Agreed to
                   Prejudice Insurers Leading up to the
                   Confirmation Hearing.

        The Certain Insurers explained that in the lead up to voting on its

  plan, BSA learned through its own expert Dr. Bates that estimates of


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  aggregate sex abuse liability were far too high, and that an appropriate

  range was in the bottom quartile of prior estimates. But claimants’

  underwhelming support threatened to derail the broad releases and

  channeling injunction in favor of BSA and hundreds of other entities that

  BSA deemed essential. See Ins. Br. at 46-48. BSA thus capitulated to an

  array of additional demands made by the claimants. BSA Br. at 48-51.

          BSA does not dispute that as a result, it sponsored a court finding,

  contradicted by its own expert analysis, that the TDP Base Matrix Values

  (prior to adjustments) were “based on and consistent with the Debtors’

  historical abuse settlements and litigation outcomes.” (A. 13179 (Third

  Modified Fifth Amended Plan, Art. IX.aa).) See Ins. Br. at 48-49. (See

  also, e.g., A. 12935-12936.) Because its Base Matrix Values were all

  “optics” (see supra at 30-31), BSA knew this finding was incorrect well

  before the confirmation hearing. If BSA was truly proceeding in good

  faith, it would have insisted that this finding be removed from the plan,

  but it did not do so. See, e.g., Exide, 2021 WL 3145612, at *11 (plan must

  be proposed “with honesty and good intentions”).3



      3
       BSA not only agreed to pursue a finding that it knew was not
  supported, but also agreed to limit how its own expert would testify about
                                                        [Footnote continued on next page]
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        Nor does BSA dispute the litigation advantages it gave to claimants

  at this point to attempt to further increase insurers’ exposure for its

  liability. For example, BSA agreed to provide the claimants’ attorneys

  with extraordinary discovery authority to paper over defects in

  thousands of claims they had signed and filed. See Ins. Br. at 50-51. With

  this vast discovery, a claimant’s attorney could use this information to

  amend their client’s claim to make it more valuable under the TDPs. This

  prospect did not bother BSA. Instead, BSA agreed to turn over extensive

  information such as troop rosters, lists of perpetrators, and handbooks

  that it ordinarily would not in the tort system. (A. 3984-3987 (Bitar),

  5966 (Burnett), 6190-6191 (Azer).)

        Nor does BSA dispute that it acquiesced to proposing a so-called

  “independent” review option (“IRO”), which would allow claimants to

  target excess insurers with potentially limitless recoveries. See Ins. Br.

  at 49-50; BSA Br. at 17 (“excess insurance policies … are triggered once

  the primary insurance coverage is exhausted.”). BSA characterizes this

  process as removing a “windfall” because, in the tort system, “BSA paid



  these values and to provide “consultation rights” to the claimants’ counsel
  so they could put a thumb on the scale in an effort to convince the court
  to adopt this finding. See Ins. Br. at 48; BSA Br. at 114.
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  claims substantially in excess of $2.7 million for egregious cases.” BSA

  Br. at 112-113. But there was no such “windfall” because, prepetition,

  BSA rarely drew upon excess policies for such payments except in

  unusual cases—involving serial abusers of multiple victims with

  particularly egregious circumstances—that bear no resemblance to the

  overwhelmingly single-victim abuser claims at issue here. See Ins. Br. at

  14-15, 21-22, 49-50, 63. (See A. 1203-1205 (Griggs) (“[T]here weren’t”

  many cases that “potentially implicated the excess” insurers).)

        This aspect of the plan, like the prejudicial findings, was specifically

  targeted at the Certain Insurers, most of whom were excess insurers who

  (unlike the settling insurers) had little to no liability for abuse claims

  against BSA prepetition and therefore no reason to agree to this lopsided

  plan. (A. 10511 (explaining that settling insurers such as Century and

  Hartford account for the lion’s share (approximately 90%) of all insurer

  liability); see, e.g., A. 6385 (potential allocation among insurers).) BSA

  knew the IRO was designed to leverage the Certain Insurers to settle and

  turn a small potential for liability into the hope of a windfall for the trust.

  Indeed, the claimant attorneys did not hide that the IRO was anticipated

  to have this effect. (A. 2922 (Gutzler).)


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        The IRO itself—just like the proposed insurance findings (see supra

  Pt. I.C.3.)—belies any suggestion by BSA and its claimant allies that BSA

  was unaware its plan would create “pressure to settle.” BSA Br. at 65-

  67. Clearly they were. That the Certain Insurers, much to BSA’s dismay,

  have remained steadfast and refused to support such a coercive plan

  confirms only the extent to which they will be prejudiced by it, and

  underscores the fundamental unfairness the plan promotes.

              8.   BSA Cannot Dispute that It Proposed Additional
                   Prejudicial Findings After the Bankruptcy
                   Court’s Opinion.

        Even after the bankruptcy court issued its confirmation opinion

  (which approved certain aspects of the plan but rejected others, such as

  the plan proponents’ desired insurance findings), BSA needed to retain

  claimant support until its plan was confirmed. As the Certain Insurers

  pointed out, BSA therefore proposed still more insurance findings at the

  claimants’ insistence to prejudice the insurers. See Ins. Br. at 54-55.

  (See, e.g., A. 9054.)     These findings, again, were rejected by the

  bankruptcy court.     (See, e.g., A. 9289, 9296-9297.)     But BSA never

  disputes or even addresses these additional prejudicial findings.




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        D.    BSA’s Attempts to Justify the Plan’s Lack of Good
              Faith Are Unavailing.

        The totality of the circumstances makes clear that BSA has failed

  to meet its burden to demonstrate its plan was proposed in good faith.

  The plan was not proposed fairly and in a manner that will achieve

  results consistent with the purposes of the Bankruptcy Code. Nor will it

  have the effect of discouraging misconduct in future bankruptcy

  proceedings. BSA’s arguments to the contrary are meritless.

              1.   The Plan Was Not Proposed Fairly and for
                   Legitimate Bankruptcy Purposes.

        BSA argues that the confirmed plan is an extraordinary

  achievement because it will pay for abuse claims and permit BSA to carry

  on its mission. But bankruptcy courts do not evaluate a Chapter 11 plan

  in search of a pathway to confirmation. They hold the debtor to its

  burden to demonstrate by a preponderance of the evidence that the plan

  is confirmable. See, e.g., RTI Holding, 2021 WL 4994414, at *9. And they

  scrutinize the circumstances surrounding the plan to determine whether

  the debtor has shown its plan was proposed in “good faith”—that is, “with

  honesty and good intentions,” in “fundamental fairness,” and in a manner

  that will “fairly achieve a result consistent with the objectives and


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  purposes of the Bankruptcy Code.” See, e.g., Am. Cap. Equip., LLC, 688

  F.3d at 156-58 (emphasis added); Exide, 2021 WL 3145612, at *11.

        BSA has failed to demonstrate how its plan does not seek a windfall

  from BSA’s assets for claimants’ attorneys, at the expense of its insurers.

  The plan is neither fair nor consistent with the Bankruptcy Code. See In

  re Genesis Health Ventures, Inc., 266 B.R. 591, 609 (Bankr. D. Del. 2001)

  (“[G]ood faith looks to the purposes that would be achieved by the plan.”).

        Critically, the “estate cannot possess anything more than the

  debtor itself did outside bankruptcy.”        Mission Prod. Holdings v.

  Tempnology, LLC, 139 S. Ct. 1652, 1663 (2019). “Whatever limitation[s]

  on the debtor’s property [apply] outside of bankruptcy [] appl[y] inside of

  bankruptcy as well. A debtor’s property does not shrink by happenstance

  of bankruptcy, but it does not expand either.”       Id. (quotation marks

  omitted); see id. (discussing the “core tenet[] of bankruptcy law” that “the

  estate can take only what the debtor possessed before filing”). Thus, the

  filing of a Chapter 11 petition creates a fixed estate of debtor’s assets,

  and Chapter 11 provides a means of equitably dividing up and

  distributing parts to its creditors.




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        As for the debtor, the Chapter 11 process provides a “fresh start in

  life” (American Capital Equip., 688 F.3d at 157 (quotation marks

  omitted)), and a “means to rehabilitate its business, including several to

  manage contractual obligations.” In re Weinstein Co. Holdings, 997 F.3d

  497, 501 (3d Cir. 2021). Chapter 11 thus presents an “inviting safe

  harbor” for the debtor to escape its debts, minimize its losses, and

  continue as a going concern. SGL Carbon, 200 F.3d at 169.

        But “[w]ith great power comes great responsibility.” Weinstein Co.,

  997 F.3d at 501. The same benefits that make Chapter 11 attractive to

  debtors and creditors alike create “the possibility of abuse which must be

  guarded against to protect the integrity of the bankruptcy system and

  the rights of all involved in such proceedings.” SGL Carbon, 200 F.3d at

  169. Debtors and creditors understandably may seek to benefit their own

  interests by “preserving the value of the bankruptcy estate” to the extent

  they can and “delivering that value to creditors,” but may not propose a

  plan with “ulterior motives” such as seeking to expand the size of the

  estate and pocket the windfall at others’ expense. Emerge Energy Servs.,

  2019 WL 7634308, at *16 (quotation marks omitted).




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        Contrary to BSA’s claims, the plan does not seek merely to “preserve

  going concerns,” “maximize property available,” “reorganize” that

  property, “divide” its value, and use it to “equitably compensat[e] abuse

  survivors.” See BSA Br. at 40-42; Claimant Br. at 39 (emphases added).

  Instead, it seeks to increase BSA’s liabilities through an explosion of

  abuse claims and provide a windfall to claimants’ attorneys by assigning

  BSA’s insurance rights to cover the inflated liability it has agreed to, all

  while abrogating insurers’ contractual rights and attempting to leverage

  insurers in plan confirmation and in coverage litigation.

        The Third Circuit has recognized that creating a settlement trust

  like this can “distort ordinary incentives between insurer and insured,

  encouraging the debtor to collude with claimants and impose costs on the

  insurer.” In re Federal-Mogul Inc., 684 F.3d 355, 380 (3d Cir. 2012).

  “[T]here may be circumstances where the creation of a trust [alters] an

  insurer’s exposure—for instance, when its mere existence attracts

  dramatically more claimants,” and the debtor is tempted to collude with

  the claimants. Id. The good faith requirement provides an equitable

  backstop that combats such temptation to abuse the bankruptcy process.

  See SGL Carbon Corp., 200 F.3d at 161 (good faith doctrine stems in part


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  from “equitable concept of ‘clean hands’” because “bankruptcy relief is

  equitable”).

         Courts have not hesitated to find a lack of good faith where the facts

  demonstrate that a plan was inappropriate. See Ins. Br. at 65-67. In

  American Capital, for example, the Third Circuit held that a plan was

  “patently unconfirmable” for lack of good faith. See 688 F.3d at 159-61,

  164.    The Court noted, among other things, that even if the plan

  preserved the debtor’s contractual duty to “cooperate in its defense,” the

  debtor was, as here, “incentivized to sabotage its own defense”; the plan

  “severely limit[ed] or eliminat[ed] [i]nsurers’ ability to take discovery,

  submit evidence, contest causation, or appeal a decision”; and the trust

  would not be funded by ongoing debtor contributions. Id. at 149, 158-61.

         Moreover, the Third Circuit has expressed serious concerns

  regarding conduct that is disturbingly similar to the issue in this case.

  See In re Global Indus. Techs., 645 F.3d 201, 214 (3d Cir. 2011) (“[T]he

  integrity of the bankruptcy proceeding is called into question by

  nonfrivolous allegations of collusion between [the debtor] and the

  asbestos claimants’ counsel in negotiating [the plan].”); see also id. (“Not

  to put too fine a point on it, the assertion is that [the debtor] sold out


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  [insurers] by setting up a system in which they would pay for newly

  ginned-up … claims in exchange for [claimants] casting their votes in

  favor of the [plan]. It is a profoundly serious charge and not without

  record support.”). BSA simply ignores these concerns. See BSA Br. at

  108-109.

        The plan proponents’ argument in response is that each of these

  cases presented different facts. See, e.g., BSA Br. at 99 n.26, 108-112;

  Claimant Br. at 26-30, 32-33, 52-54. That is of course true, but the

  underlying principles remain: a debtor does not act in good faith where,

  for example, it chooses its plan because of the dominance and self-dealing

  by certain of its creditors (ACandS, 311 B.R. at 43), where there is a

  concerning conflict of interest (Coram, 271 B.R. at 232-40), or where the

  plan will be used for a tactical litigation advantage (Integrated Telecom

  Express, 384 F.3d at 120; see, e.g., American Capital Equip., 688 F.3d at

  158, 160 n.8 (citing ACandS and Coram)). The plan proponents cite no

  case in which a court has ever confirmed a plan that is analogous to the

  one at issue here.




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              2.   The Plan Would Encourage Further Abuse
                   of the Bankruptcy Process.

        The plan is particularly inappropriate because it will neither

  achieve “fundamental fairness and justice” nor “discourag[e] debtor

  misconduct.” American Capital Equip., 688 F.3d at 157; see SGL Carbon,

  200 F.3d at 161 (explaining that the “borderline between fulfillment and

  perversion” of bankruptcy objectives is “patrolled by courts of equity,

  armed with the doctrine of good faith”).

        The lack of good faith in this case began with misconduct by

  plaintiffs’ attorneys not simply to resolve BSA’s prepetition liability, but

  to gin up tens of thousands of meritless claims to increase BSA’s liability,

  because doing so would increase fees and create leverage for the

  claimants’ attorneys and BSA to exact inflated settlements out of the

  insurers. This leverage permitted them to control the bankruptcy and

  unfairly threaten to strongarm plan objectors into settling before they

  could press their objections at trial. BSA’s decision to compensate these

  efforts to increase its own alleged liability, rather than put a stop to it,

  because BSA would exit bankruptcy and continue its mission, does not

  exhibit fundamental fairness in dealing with creditors and is not

  consistent with how the Bankruptcy Code ought to operate. See, e.g.,

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  Weinstein Co., 997 F.3d at 505 (Bankruptcy Code contemplates “fairness

  to the nonbankrupt counterparty”).

        The plan proponents do not—because they cannot—dispute that

  such circumstances follow a playbook that plaintiffs’ lawyers (with tacit

  approval by debtors) have been seeking to implement for years, and will

  continue to attempt in other mass tort bankruptcies unless halted by the

  courts. See Ins. Br. at 23-24. (See, e.g., A. 12297 (“This idea of ‘binding

  TDPs’ or ‘litigated TDPs’ is a holy grail that the mass tort lawyers have

  been chasing for years”), A. 4202-4203 (Amala) (strategy was to get

  binding TDPs and then leverage precedent in other bankruptcies).)

        Instead, they argue that “[m]ass tort settlements establishing an

  adjudication procedure, or trust distribution procedures, instead of

  litigation, are commonplace” (BSA Br. at 104) and resolution of claims

  through TDPs is a “hallmark of mass tort cases” (Claimant Br. at 47-48).

  But they do not and cannot cite any case in which a debtor has worked in

  collaboration with claimants’ counsel to dramatically increase the

  debtor’s liability and then abrogate contractual protections of the

  insurers as the plan proponents have sought to do here.




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        Although their quest for the “Holy Grail” was derailed when the

  bankruptcy court struck their proposed insurance findings, making it

  clear that insurers will not be expressly “bound by future awards” (BSA

  Br. at 66), the plan proponents persist. They have never squarely stated

  that the plan preserves all of the insurers’ contractual rights and BSA’s

  obligations. See, e.g., In re ACandS, 311 B.R. 36, 43 (Bankr. D. Del. 2004)

  (lack of good faith where plan was proposed due to the dominance and

  self-dealing of certain creditors). If the plan actually leaves the Certain

  Insurers’ contractual rights and BSA’s obligations intact, they (and this

  Court) should say so and put it clearly and expressly in their plan. See,

  e.g., Exide, 2021 WL 3145612, at *11 (plan must be proposed with

  “honesty and good intentions”). Instead, they hope that by remaining

  silent on this issue they will gain a tactical advantage in coverage

  litigation that the bankruptcy court refused to provide them.

        As anticipated, the plan creates a “hydraulic pressure” to force

  insurers to fund payment for abuse claims irrespective of the insurers’

  actual coverage liability. Newton, 259 F.3d at 164; see also infra Pt. II.B.

  BSA’s principal response is that the real-world harms discussed in cases




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  like Newton are “irrelevant” because “Newton is not a bankruptcy case or

  a mass tort case.” See BSA Br. at 65-67.

        But confirmation of this plan creates exactly the sort of tangible

  harms that coercive class certification does. It creates unfair pressure on

  insurers to settle notwithstanding any ability to assert coverage defenses

  later. Courts consistently caution that such a “risk, however small, of

  potentially ruinous liability” can create inordinate settlement pressure,

  irrespective of actual liability. Newton, 259 F.3d at 164, 167 n.8; see, e.g.,

  Central Bank of Denver, N.A. v. First Interstate Bank of Denver, N.A., 511

  U.S. 164, 189 (1994) (“Because of the uncertainty of the governing rules,

  entities ... may find it prudent and necessary, as a business judgment, to

  abandon substantial defenses and to pay settlements in order to avoid

  the expense and risk of going to trial.”); Bell Atlantic Corp. v. Twombly,

  550 U.S. 544, 559 (2007) (explaining that “the threat of discovery

  expense” can “push cost-conscious defendants to settle even anemic

  cases”).

        In any event, the Third Circuit has in fact recognized in a

  bankruptcy mass tort case that an explosion in claims, like the ones at

  issue here, creates a “tangible disadvantage to [insurers] which, despite


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  having their coverage defenses available, will be faced with coverage

  obligations … in a world that recognizes the existence” of thousands more

  claims. Global Indus. Techs., 645 F.3d at 213-14 (emphasis added). The

  Court recognized that the costs and uncertainty borne by insurers can be

  “enormous, even if [insurers] never pay a single dollar of indemnity.” Id.

        The tens of thousands of new claims worked up in this

  bankruptcy—all of which BSA seeks to compensate in stark departure

  from its prepetition practices—are the bludgeon wielded by BSA to cow

  its insurers on others’ behalf.

        That leverage has been wielded again and again: the claimants’

  attorneys used it to force BSA to abandon its insurers and align with

  them in their preferred plan. See Ins. Br. at 22, 60, 64-65. BSA then

  proposed insurance findings that would bind non-settling insurers (but

  not settling insurers) to inflated TDP claim awards in coverage litigation.

  See Ins. Br. at 37-45. And after some insurer settlements, it proposed an

  independent review process that targeted excess insurers to leverage still

  more funds into the trust. See Ins. Br. at 49-50. This is precisely the sort

  of case in which piling thousands upon thousands of claims can “place




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  acute and unwarranted pressure on defendants to settle” rather than

  address them on their merits. Newton, 259 F.3d at 167 n.8.

        The plan proponents provide no evidence to the contrary. Instead,

  they contend that these concerns are “facially absurd” (BSA Br. at 66-

  67), but omit that they have embraced such real-world effects as a reason

  for plan confirmation. (See A. 12955 (“[W]hile the Debtors may believe

  that they have meritorious defenses to the Abuse Claims, the sheer

  volume of them is more than they can handle simultaneously, and the

  loss of even a few high-profile cases would negatively impact the Debtors’

  operations and programming. Defending against thousands of lawsuits

  simultaneously would be inherently complicated and prohibitively

  expensive.”).) Even if the plan proponents persuaded a handful of BSA’s

  insurers to settle (and, in one instance, resettle, see supra at 16), and are

  dismayed that the Certain Insurers “have proven themselves to be

  utterly immune” to settlement (BSA Br. at 66-67) this simply proves the

  point: the plan is premised on using the prospect of massive potential

  liability to prejudice the Certain Insurers.

        Such a plan is unfair not only to the Certain Insurers, but also to

  the courts.    Good faith “has long been the policing mechanism of


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  bankruptcy courts to make certain that those who invoke the

  reorganization or rehabilitation provisions of the bankruptcy law do so

  only to accomplish the aims and objectives of bankruptcy philosophy and

  policy and for no other purpose.” Furness v. Lilienfield, 35 B.R. 1006,

  1011 (D. Md. 1983) (quotation marks omitted). And it “protects the

  jurisdictional integrity of the bankruptcy courts which sit in equity and

  therefore demand that a party seeking relief enter with clean hands.” Id.

        Furthermore, as experts on both sides testified, misuse of the

  bankruptcy process harms individuals who have valid claims in the

  bankruptcy—here, the bona fide claimants—by potentially diluting the

  claim pool and detracting from the Settlement Trustee’s prompt

  resolution of legitimate claims of sexual abuse. See Ins. Br. at 22, 74; see

  also In re ACandS, 311 B.R. at 43 (no “fundamental fairness” in dealing

  with creditors when the “influence and cunning of lawyers” benefited

  some creditors at the expense of others). The fact that thousands of

  claimants voted for a plan (see BSA Br. at 86-87) that protects invalid or

  inflated claims hardly mitigates the harm to those filing bona fide abuse

  claims and, indeed, will only encourage further misuse of the bankruptcy

  process in future mass-tort bankruptcies.


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              3.   BSA’s Other Attempts to Justify the Plan’s Lack
                   of Good Faith Are Meritless.

        BSA suggests that the plan nonetheless should be confirmed

  because it was proposed to “compensate survivors” and to continue its

  “charitable” mission. See BSA Br. at 41-43, 66-67. But the plan cannot

  be confirmed because it also embraces the demands of claimant

  representatives who seek to misuse the bankruptcy as a means of

  inflating claims against BSA and gaining an advantage in coverage

  litigation. See American Capital Equip., 688 F.3d at 160 n.8 (rejecting

  the “non sequitur” that the plan “maximiz[es] value to creditors” because

  “the Plan could fulfill one specific purpose of the Code and yet be

  inconsistent with other overarching principles, or with the requirement

  that objectives and purposes of the Code must be fairly achieved.”).

        BSA also emphasizes that it “carefully reviewed and approved” the

  plan, that it engaged in “tireless” efforts in numerous “meetings” (BSA

  Br. at 44-49), and that the case is “complicated” (BSA Br. at 44). But the

  Certain Insurers, too, have carefully reviewed the plan and undertaken

  repeated efforts to ensure its fundamental fairness. Their fundamental

  contractual rights are at stake, and this case will set an important

  precedent in mass tort bankruptcies for years to come. BSA’s efforts to

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  obtain a plan with the support of numerous stakeholders, but not the

  Certain Insurers, does not mean it was proposed in good faith.

          Finally, a court should not confirm a plan merely because it is

  concerned the debtor would not otherwise be able to emerge from

  bankruptcy “as it currently exists.” BSA Br. at 50. The Bankruptcy Code

  does not guarantee chapter 11 relief—especially not in the debtor’s most

  preferred form. (See, e.g., A. 12923 (“Without such protections, Survivors

  may very well be better off in a Chapter 7 liquidation.”).)        Because

  Chapter 11 is a powerful tool for restructuring assets, it imposes strict

  requirements for confirmation and, as the claimants concede, “the ends

  do not justify the means.” Claimant Br. at 52.

          BSA could have sought to disallow fraudulent or meritless claims

  before proposing its plan, or proposed an insurance neutral plan. It did

  neither, and instead seeks to persuade this Court that its plan can

  rewrite its insurance contracts to leave payment for 82,000 claims at the

  insurers’ doorstep. See BSA Br. at 87. BSA did not have to follow this

  path.    Nevertheless, if this Court reverses, the Certain Insurers are




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  willing—as they have been all along—to work with BSA to formulate a

  plan that complies with the good faith requirement.4

  II.       THE PLAN ABROGATES THE CERTAIN INSURERS’
            CONTRACTUAL RIGHTS.

            The Court also should reverse because the plan impermissibly

  abrogates the Certain Insurers’ contracts, and nothing in the hundreds

  of pages of briefing by plan proponents shows otherwise. See 11 U.S.C.

  §§ 1129(a)(1), (3). Rather, the plan proponents barely address the issue,

  make inconsistent and vague statements about what their plan actually

  does, and premise their arguments solely on an erroneous legal theory

  that they never pressed below. Even setting aside the plan’s lack of good

  faith, this is an independent basis for reversal.

            As explained by Wharton Professor Scott Harrington, an expert in

  insurance and economics (A. 3471-3474, 3482), in unrebutted expert

  testimony, the operative insurance contracts contain fundamental rights

  far more than simply no action clauses that state “no action lies against

  the insurer for breach unless … the claimant, insured and insurer have




      In addition to the arguments made herein, the Certain Insurers
        4
  hereby join in the Reply Brief of the Liberty Insurers and the Allianz
  Insurers, which is being filed concurrently herewith.
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  agreed in writing to settle a claim” (BSA Br. at 105; see Ins. Br. at 16),

  but including insurers’ “right and/or duty to defend the insured,” “the

  right to associate in the defense of the insured,” “the right to investigate

  applicable legal liability,” the “right to consent to settlements,” and “the

  anti-assignment clause.” (A. 233.) Moreover, the policies provide that

  BSA as the insured has the obligation to “assist and cooperate with the

  insurer … in its defense.” (A. 3485 (Harrington).)

        A.    The Plan Cannot Be Confirmed Because It
              Impermissibly Alters the Certain Insurers’ Contracts.

        As the Certain Insurers have explained (see Ins. Br. at 78-79), it is

  a bedrock principle of bankruptcy law that the Bankruptcy Code is “not

  intended to expand the debtor’s rights against others.” Moody v. Amoco

  Oil Co., 734 F.2d 1200, 1213 (7th Cir. 1984) (quoting H.R. Rep. No. 595

  (1978)). “Whatever limitation[s] on the debtor’s property [apply] outside

  of bankruptcy,” i.e., under state contract or property law, “appl[y] inside

  of bankruptcy.” Mission Prod., 139 S. Ct. at 1663 (quotation marks

  omitted); see id. (“The estate cannot possess anything more than the

  debtor itself did outside bankruptcy.”).

        Thus, courts applying the Bankruptcy Code “do not have the power

  to rewrite contracts to allow debtors to continue to perform on more

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  favorable terms.”     In re Crippin, 877 F.2d 594, 598 (7th Cir. 1989).

  Following bankruptcy, the debtor must have “the same rights and

  defenses” under a contract as it did before. In re Combustion Eng’g Inc.,

  391 F.3d 190, 245 n.66 (3d Cir. 2004); see, e.g., In re Mitchell, 2012 WL

  5988841, at *6 (Bankr. D. Md. Nov. 29, 2012) (“insurance contracts

  cannot be rewritten by this Court”); In re 641 Assocs., Ltd., 1993 WL

  332646, at *8 (Bankr. E.D. Pa. Aug. 26, 1993) (“There is no provision in

  the Bankruptcy Code allowing a bankruptcy court to disregard state-law

  contract rights.”).

        BSA recognized the ramifications of proposing a plan that violates

  these principles. (A. 7311; see A. 7307 (acknowledging that the plan’s

  “treatment of insurance” gets “to the [heart] of what is happening” here).)

  That is why, before it reversed course after capping its own liability and

  aligned itself with the claimants’ lawyers, BSA repeatedly insisted upon

  a plan that accounted for all of the provisions in its insurance contracts

  and preserved the rights of its insurers and the obligations of BSA. See

  Ins. Br. at 37-38. Chapter 11 debtors often include provisions that seek

  to protect the rights of non-settling insurers to avoid impermissibly




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  modifying their insurance contracts. See, e.g., In re Blitz U.S.A. Inc.,

  2013 WL 6825607, at § 6.7 (Bankr. D. Del. Nov. 12, 2013).

        After teaming up with the claimants, however, BSA gambled that

  the plan proponents could convince the courts to accept their novel legal

  argument that any abrogation of contracts was consistent with

  “applicable law.” See, e.g., BSA Br. at 75-76; see also, e.g., FCR Br. at 54

  (“The Plan provides that potential Insurer defenses predicated upon a

  failure to satisfy conditions precedent or obligations under such Abuse

  Insurance Policies shall be preserved and determined under applicable

  law.” (emphasis added)).

        The plan proponents pay lip service to the bankruptcy court’s

  erroneous holding that “insurance neutrality” is merely a standing

  concept, but make no actual attempt to renew here their argument from

  the bankruptcy court that they can abrogate the Certain Insurers’

  contracts on that ground. See BSA Br. at 105-07; FCR Br. at 50; Claimant

  Br. at 50-51. (See A. 256-257.) That is because, as they now recognize, it

  is fundamental that Chapter 11 bankruptcies are not an opportunity to

  rewrite a debtor’s contracts, even insurance contracts. See, e.g., FCR Br.

  at 56-57; see also Mission Prod., 139 S. Ct. at 1663 (debtor’s contracts do


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  not expand or shrink by “happenstance of bankruptcy”).5              Indeed,

  construing the Bankruptcy Code to permit the unilateral impairment of

  contracts without consent would raise serious constitutional concerns.

  See Louisville Joint Stock Land Bank v. Radford, 295 U.S. 555, 589-90,

  602 (1935) (bankruptcy statute subject to takings protections).

          As a result, they are left with nothing but the defective plan

  language they negotiated and a legally erroneous argument that they

  never pressed in the bankruptcy court under Bankruptcy Code § 363.

  Unsurprisingly, these are not sufficient for BSA to meet its burden to

  demonstrate that the plan does not impermissibly abrogate the Certain

  Insurers’ contracts. See, e.g., In re Tribune Co., 464 B.R. 126, 151-52

  (Bankr. D. Del. 2011), aff’d in part, 587 B.R. 606 (D. Del. 2018).




      5
       Cases the plan proponents cite recognize that a plan cannot
  impermissibly modify contracts. See, e.g., Combustion Eng’g, 391 F.3d at
  209 (“[R]ecognizing the Plan should not modify the contractual rights of
  insurers, the court added a provision to make clear the Plan did not alter
  the contractual rights of insurers under any insurance policy ….”); In re
  Thorpe Insulation Co., 677 F.3d 869, 886 (9th Cir. 2012) (“care must be
  taken to ensure that, in fact, the insurer’s rights are completely
  unaffected.” (quotation marks omitted)). The now-vacated decision in In
  re Purdue Pharma L.P., 633 B.R. 63 (Bankr. S.D.N.Y. 2021), never held
  that bankruptcy courts have freewheeling authority to rewrite contracts.
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               1.    The Plan Proponents Incorrectly Contend that
                     the Plan Language Sufficiently Preserves
                     Insurers’ Contractual Rights.

          The plan proponents suggest that the Certain Insurers’ “rights

  under the contracts” are “fully preserved.” BSA Br. at 118 n.28; see, e.g.,

  FCR Br. at 49; Claimant Br. at 51. But the plan says nothing about these

  fundamental rights, such as the right to control or participate in defense,

  the right to investigate legal liability, and the right to consent to

  settlements. See Ins. Br. at 15-17 (insurers’ rights). Instead, because

  BSA relented to the claimants’ attorneys, the plan now states that

  preservation of contractual insurance rights and obligations is “subject

  to the Plan and Confirmation Order” and “applicable law,”6 thus

  rendering any such preservation circular and facially illusory. See Ins.

  Br. at 40-43. Put simply, BSA never actually says—because it cannot—

  that the plan it accepted preserves these fundamental rights.

          Instead, BSA argues that such rights are not important because the

  Certain Insurers were supposedly “largely uninvolved” with respect to




      6
       These provisions also expressly exempted findings made by the
  bankruptcy court because BSA proposed prejudicial insurance findings
  that were intended to bind insurers to the Settlement Trustee’s claim
  determinations in coverage litigation. See supra Pt. I.
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  BSA’s defense and settlement of abuse claims prior to the bankruptcy.

  See BSA Br. at 117-18 & n.28. But whether or to what extent that was

  true, BSA never disputes that insurers have such rights under its

  contracts, and that some insurers did in fact exercise them in appropriate

  circumstances prior to the bankruptcy filing. (See, e.g., A. 1201-1207,

  1276-1277, 5941, 5943, 5948-5949 (Griggs).) Further, the degree to which

  insurers’ rights were previously exercised—when BSA was mounting a

  zealous defense—is not probative, because BSA has now aligned itself

  with claimants’ attorneys and attempted to inflate its own liability by

  proposing a plan that targets the Certain Insurers as a means of

  obtaining releases for all 82,000 channeled abuse claims. Indeed, it is

  because BSA abandoned those insurers that these rights are particularly

  critical now.

        Professor Harrington explained that these critical contractual

  rights reduce the “moral hazard” of an insured compromising its own

  defense by aligning its interests with the insurer and controlling the cost

  of such claims. (A. 3484.) These provisions make it possible for insurers

  to “offer coverage” for judgments or settlements in the tort system




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  because they permit insurers to work with their insured to effect a proper

  defense and settlement of claims. (A. 233; see A. 3484-3485.)

        BSA adhered to this contractual arrangement prepetition by

  aligning itself with its insurers and mounting a zealous defense to

  approximately 350 abuse claims, raising all applicable defenses and

  appropriate procedural safeguards in the tort system, communicating

  with insurers, providing information, permitting them to select counsel,

  and obtaining consent to settle. See Ins. Br. at 14-15, 17 (“The purpose

  was ‘to evaluate the credibility and value of a claim’ and position the case

  ‘towards a more favorable settlement, if possible.’” (emphasis added).)

        Now, however, the plan aligns BSA with the claimants’ lawyers,

  assigning its insurance rights under the contracts to the trust but

  providing for an alternative dispute resolution system in which neither

  the Settlement Trustee nor the insurers can mount a zealous defense,

  and there is no provision in the plan for insurers to consent to a

  settlement. This creates an “inherent potential” to benefit claimants’

  attorneys and certain claimants through inflated settlements at the

  insurers’ expense. (A. 3483-3487, 3507, 3518-3519 (Harrington).)




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        The plan thus upends the economic bargain and creates massive

  risks for insurers that was never contemplated by BSA’s insurance

  policies. (See, e.g., A. 3529 (Harrington) (the proposed plan will have

  already “eviscerate[d]” these rights), A. 3477, 3488-3489 (Harrington)

  (insurers’ contracts anticipate claims resolved in “the tort system”).)

  While the bankruptcy court did not accept Professor Harrington’s

  opinions regarding the “‘difficulty’ an insurance company may face in

  future coverage litigation” as a result of the prejudicial findings proposed

  by BSA, the court “accept[ed]” his unrebutted testimony that insurance

  policies contain multiple provisions “that factor into the economic pricing

  of policies” yet are not accounted for in the current plan. (A. 237.) That

  testimony about these rights and their value to insurers is undisputed,

  and BSA’s speculation that its abrogation of rights is not important is

  simply contrary to the record and its own practices.

              2.   The Plan Proponents Incorrectly Contend that
                   the Plan Preserves BSA’s Contractual
                   Obligations.

        In any event, the plan further impermissibly abrogates the Certain

  Insurers’ contracts because it purports to assign BSA rights under its

  policies without concomitant obligations, such as BSA’s obligation to


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  “cooperate with the insurer in the investigation and defense of the claim.”

  (A. 233; see A. 3485 (Harrington) (This is “an important clause.”).) See

  Ins. Br. at 16-17, 32-33, 62, 84-85 (The plan “assigns insurance rights

  without any corresponding obligations, such as BSA’s obligation to allow

  insurers to work with BSA to minimize its liability for abuse claims,

  whether on statute of limitations grounds or any other ground arising

  from the many defects in the plan.”). While BSA asserts that insurance

  policy interests are routinely assigned by debtors, it has not and cannot

  identify a single case in which policy rights have ever been assigned

  without their concomitant obligations. BSA Br. at 115-121.

        BSA now claims that the plan does in fact “preserve the policy

  obligations as they existed prepetition,” but does so silently. BSA Br. at

  35; see BSA Br. at 115-16, 118 (there is “no requirement” for a bankruptcy

  plan to “specifically provide” for contractual obligations set forth in the

  debtor’s insurance policies). But neither BSA nor the claimants actually

  state that BSA and the successor Settlement Trust continue to be bound

  by such obligations, such as the duty to cooperate with insurers in

  defending against abuse claims.      And nothing in the plan that they

  negotiated provides for such obligations to be delegated to the trust.


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          To the contrary, the plan expressly assigns only BSA’s rights under

  BSA’s insurance policies, without mentioning its obligations, stating that

  it does not assign the complete terms of BSA’s insurance policies. (A. 384

  (assignment includes all “rights, claims, benefits, or Causes of Action of

  the Debtors … under or with respect to the Abuse Insurance Policies (but

  not the policies themselves)”) (emphasis added).)7

          It is therefore irrelevant whether, as BSA claims, the TDPs do not

  “modify” the “terms of any insurance policy,” or the “obligations under an

  Insurance Policy assigned to” the trust—BSA’s plan assigns insurance

  rights, but it does not actually assign the policies or the obligations to the

  trust. BSA Br. at 115 (quoting TDPs, Art. V.C). And even if it did, the

  plan provides only that the TDPs shall not modify terms “to the extent

  such rights and obligations are otherwise available under applicable law

  and subject to the Plan and Confirmation Order,” negating any such

  protections in the plan. (A. 511 (emphasis added).)




      7See, e.g., BSA Br. at 116 (quoting TDPs, Art. V.C (“The Bankruptcy
  Court has authorized the Insurance Assignment pursuant to the Plan
  and the Confirmation Order, and the Settlement Trust has received …
  all … rights or obligations under or with respect to the Insurance Policies
  (but not the policies themselves) in accordance with the Bankruptcy
  Code.” (emphasis added))).
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          Prior to confirmation, the claimants told the bankruptcy court that

  BSA was trying to “assign the rights and assign the duties or the

  burdens” under the insurance policies. (A. 5925.) Now, however, they

  make the extraordinary argument for the first time on appeal that they

  are not required “to transfer obligations” under the insurance policies

  because they are transferring insurance rights in contracts pursuant to

  Bankruptcy Code § 363, which governs non-executory contracts, rather

  than pursuant to Bankruptcy Code § 365, which governs executory

  contracts. See FCR Br. at 50, 55-59; see also BSA Br. at 115.

          In the bankruptcy court, the plan proponents never contended that

  they can transfer rights without obligations because they are

  transferring rights under non-settling insurers’ policies pursuant to

  § 363.8 (A. 259.) Nor did the plan proponents argue below that the

  insurance policy rights can somehow be severed from the obligations

  under those policies. These arguments have accordingly been waived,

  and they may not assert them in this appeal. See, e.g., In re Reliant

  Energy Channelview LP, 594 F.3d 200, 209 (3d Cir. 2010) (appellant “did


      8
      See, e.g., Bankr. D.I. 9690 at 2 (“The Debtors and the Local Councils
  are purporting to transfer certain rights under their policies consistent
  with section 1123(a) of the Bankruptcy Code ….”).
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  not raise this claim in the Bankruptcy Court, and we will not consider

  new claims for the first time on appeal.”).

          In any event, as the Certain Insurers have explained (see Ins. Br.

  79-81), the “cum onere principle”—requiring contracts to be taken in full,

  rather than accepting benefits but not the burdens (see, e.g., Bankr. D.I.

  9690 at 2)—applies “to the transfer of rights and obligations … pursuant

  to § 363 of the Bankruptcy Code” just as it does to transfers of rights and

  obligations pursuant to § 365. In re Am. Home Mortg. Holdings, 402 B.R.

  87, 98 (Bankr. D. Del. 2009); see In re Weinstein Co. Holdings, LLC, No.

  18-50924, Dkt. 44 at 137:4-11 (Bankr. D. Del. 2020) (“[T]he concept of a

  sale free and clear of all liens, claims and interests [under § 363] does not

  mean that you can sell the benefits of a contract, but not its obligations.”),

  aff’d, 997 F.3d 497, 505 (“Under the terms of the sale, the buyer must

  typically fulfill obligations under the contract it bought after the sale

  closes, just as it would with any other asset or liability.”).9



      9
      See also, e.g., In re Stewart Foods, Inc., 64 F.3d 141, 145 (4th Cir.
  1995) (“Because § 365 applies only to executory contracts, a debtor-in-
  possession does not have the option of rejecting or assuming non-
  executory contracts and remains bound by the debtor’s obligations under
  those contracts after the bankruptcy’s filing.”); In re 47 Hops LLC, 2020
  WL 2485808, at *4 (Bankr. E.D. Wash. May 13, 2020) (“Although the
                                                         [Footnote continued on next page]
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        The cum onere principle is yet another reflection of the principle

  that “[w]hatever limitation[s] on the debtor’s property [apply] outside of

  bankruptcy appl[y] inside of bankruptcy” (Mission Prod., 139 S. Ct. at

  1663), and that bankruptcy courts “do not have the power to rewrite

  contracts to allow debtors to continue to perform on more favorable

  terms” (Crippin, 877 F.2d at 598).       (A. 259 (property rights can be

  transferred “consistent with applicable state law”).) See, e.g., Burns v.

  United States, 501 U.S. 129, 136 (1991), abrogated on other grounds by

  United States v. Booker, 543 U.S. 220 (2005) (“An inference drawn from

  Congressional silence certainly cannot be credited when it is contrary to

  all other textual and contextual evidence of congressional intent.”).

        In the context of assignments, Congress rightly understood that

  contract rights of a debtor under state law can generally be assigned, and

  duties generally can be delegated. See, e.g., 29 Williston on Contracts

  §§ 74:10, 74:28 (Westlaw 4th ed. 2022). But there are limitations: an

  assignment, for example, cannot “materially impair [an insurer’s] chance




  bankruptcy law regarding executory contracts is broad, the law does not
  rewrite contracts wholesale. For example, the estate representative
  must address any given contract in its entirety and may not forage among
  favorable or unfavorable components.”).
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  of obtaining return performance, or materially reduce its value to [the

  insurer]” (Restatement (Second) of Contracts § 317(2) (Westlaw 2022)),

  as transferring insurance rights without obligations would do.

        The plan proponents’ sole purported authority for their erroneous

  construction is American Home Mortgage, a case the Certain Insurers

  raised below and the plan proponents ignored. (A. 249-250.) This case

  expressly recognized that “the cum onere principle applies equally to the

  transfer of rights and obligations under a non-executory contract

  pursuant to § 363 of the Bankruptcy Code as to the assumption and

  assignment of contracts and leases pursuant to § 365.” 402 B.R. at 98.

        As the court explained, “[u]nder the common law of contracts, there

  is a distinction between the assignment of rights under a contract, the

  delegation of duties under a contract, and the transfer of rights and

  obligations under a contract.” Id. at 92-93. Thus, “a debtor may assign,

  delegate, or transfer rights and/or obligations under Section 363 of the

  Bankruptcy Code” depending on which applies (id.), but regardless, any

  such “rights and obligations under a non-executory contract” must “be

  sold cum onere” (id. at 98). After holding that parts of a contract were

  severable into two agreements, the court held that the debtors’ “rights


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  and obligations under [one] agreement may be transferred, cum onere.”

  Id. at 100. BSA’s plan does the opposite of what the case law requires.

           B.   The Plan Proponents’ Argument that this Contractual
                Impairment Should Be Overlooked Because Insurers
                Can “Assert” Defenses in Coverage Litigation Is
                Unavailing.

           Like the bankruptcy court, the plan proponents suggest that the

  “real question” is not whether the assignment of BSA’s insurance rights

  abrogates contractual rights and obligations, but the extent to which, as

  a consequence, the insurers will actually be harmed because they can

  “assert a defense or claim” in coverage litigation.10 FCR Br. at 49-50.

  (A. 258-260.) That argument continues to be meritless.

           Questions such as whether the bankruptcy plan modifies

  contractual rights (see supra Pt. II.A.1) or impermissibly abrogates

  contractual obligations (see supra Pt. II.A.2) are not esoteric “insurance

  coverage issue[s]” (BSA Br. at 119)—they are fundamental questions of




      10 See, e.g., BSA Br. at 119 (“If there is future award [sic] that reaches
  an Insurer, and they dispute their obligation to pay that award, then they
  will raise their coverage defense, and that defense will be adjudicated on
  the then-existing facts.”); BSA Br. at 118-19 (“If the Insurers believe that
  there is some future breach of their insurance contracts, then they retain
  the right to raise that defense to coverage.”); see also BSA Br. at 62-65.


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  bankruptcy law that determine whether a bankruptcy plan is

  confirmable    or,   instead,   impermissibly    modifies   contracts    “by

  happenstance of bankruptcy.” Mission Prod., 139 S. Ct. at 1663.

        Resolving such issues, like confirming or rejecting the plan, may

  impact the amount of insurance coverage available to a trust, but that

  does not make them “coverage” issues to be adjudicated later. See, e.g.,

  BSA Br. at 119-21 (explaining that coverage courts consider “whether an

  insurer must pay a specific settlement entered into by the insured”

  (quotation marks omitted)). Whether or not insurers must indemnify the

  trust for certain claims pursuant to their policies is an entirely separate

  question from what the plan purports to do and whether it accordingly

  satisfies the requirements of applicable law. The bankruptcy court was

  required to resolve these questions but instead deferred them to an

  insurance coverage dispute. The plan proponents ask this Court to do

  the same, but that is contrary to bankruptcy law. See, e.g., Federal-

  Mogul, 684 F.3d at 382 (holding in a bankruptcy appeal that the

  Bankruptcy Code preempted anti-assignment rights in certain cases).

        It is particularly off the mark for the plan proponents to argue that

  these issues can simply be deferred to a later court for resolution (BSA


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  Br. at 119), because it was the plan proponents that proposed the

  prejudicial “insurance” findings in the first place, urging the bankruptcy

  court to find that the insurers are bound by claim awards

  notwithstanding their contractual rights.

           While it would clearly have been improper for the bankruptcy court

  to prejudge how much insurers are obligated to pay (BSA Br. at 107; A.

  237-238), and it correctly has not done so, it is absolutely essential for the

  bankruptcy court to determine at the confirmation stage whether the

  debtor has met its burden to show that its proposed plan does not

  impermissibly abrogate contractual rights and duties—an issue that is

  ripe for review in this appeal.11 By failing to do so, the bankruptcy court

  committed reversible error.

           Contrary to BSA’s claims, preserving insurers’ ability to “assert”

  coverage defenses is not remotely equivalent to what the Bankruptcy

  Code requires: actually preserving all of their rights and BSA’s


      11
         See also, e.g., A. 12350 (“A chapter 11 plan can be confirmed if it
  satisfies section 1129 of the Bankruptcy Code by a preponderance of the
  evidence.” (citations omitted)); A. 12350 (“The Debtors have satisfied
  their burden under section 1129.”); A. 12946 (“For the Court to confirm
  the Plan, the Debtors must establish by a preponderance of the evidence
  that the Plan satisfies each of the requirements of § 1129(a) of the
  Bankruptcy Code.”).
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  obligations in the contracts. See Mission Prod., 139 S. Ct. at 1663; see

  also, e.g., Federal-Mogul, 684 F.3d at 379; FCR Br. at 49-50, 53-54;

  Claimant Br. at 51; FCR Br. at 48-52 (erroneously claiming that “the risk

  undertaken by the Insurers in policies remains the same following the

  assignment of BSA’s insurance rights to the Trust”).

        The mere ability to raise coverage defenses would prove cold

  comfort if the plan already impermissibly rendered rights and defenses

  effectively meaningless. Deferring the preservation of insurer rights for

  coverage litigation raises serious due process concerns (Lindsey v.

  Normet, 405 U.S. 56, 66 (1972)), because it would open the door for

  improper contentions (as made in the bankruptcy court) that the Certain

  Insurers should be bound by the plan nonetheless given their “robust

  opportunity to object” and contest confirmation. Claimant Br. at 11, 44.

        In any event, the plan would impermissibly impair the Certain

  Insurers’ contracts because it would abrogate critical contractual rights,

  such as the rights to defend against claims and the right to consent to

  settlements. See supra Pt. II.A. By the time of coverage litigation, the

  proposed plan will have already “eviscerate[d]” such rights (A. 3546),

  resulting in settlements of 82,000 claims through a system that is worlds


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  apart from the adversarial system contemplated in the parties’

  contracts.12    The trampling of those rights, and resulting inflated

  potential exposure from thousands of questionable abuse claims, would

  upend the economic bargain without just compensation. See Louisville

  Joint Stock Land Bank, 295 U.S. at 589-90, 602.

           The bankruptcy court overlooked the most immediate impact of

  denying these fundamental rights, which is that such a plan would create

  a “hydraulic pressure … to settle” existing independent of any outcome

  in coverage litigation. See Newton, 259 F.3d at 164. As explained above,

  the Third Circuit has recognized that an explosion in claims creates a

  “tangible disadvantage to [insurers] which, despite having their coverage

  defenses available, will be faced with coverage obligations … in a world

  that recognizes the existence” of thousands more claims. Global Indus.

  Techs., 645 F.3d at 213-14 (emphasis added). The Court recognized that




      12 Compare, e.g., A. 3488-3489 (Harrington) (insurers’ contracts
  “anticipate that these claims will be brought within the court system and
  that they will be settled within the context of the tort system ….”), with,
  e.g., A. 12432-12433 (“If this Plan fails and survivors return to the tort
  system, the vast majority will not recover anywhere close to the
  recoveries made available to them under the Plan—if anything at all.”).
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  the costs and uncertainty borne by insurers in such a case can be

  “enormous, even if [insurers] never pay a single dollar of indemnity.” Id.

        BSA tries to flip the script, claiming that the Certain Insurers

  somehow have “no right” to prevent it from compensating claimants, so

  long as insurers can assert coverage defenses. BSA Br. at 66-67. But

  even if insurers can eventually “assert” coverage defenses, this plan, as

  confirmed, runs counter to the very premise of their contracts (see, e.g.,

  Ins. Br. at 16-17 (“Insurers underwrite a particular entity …. The

  assignee may not have the same incentives to align with the insurer in

  defense of tort claims.”)) and is therefore not confirmable (see, e.g., Ins.

  Br. at 80-81 (explaining that an assignment may not “materially increase

  the obligor’s [e.g., the insurer’s] burden or risk under the contract” or

  “materially reduce its value to [the insurer]” (quotation marks omitted)).

        To be sure, there is no “unassailable right to require [a] policyholder

  to resolve claims exclusively in the tort system.” Claimant Br. at 47-48

  (emphasis added); see, e.g., FCR Br. at 48-49 & n.52; Claimant Br. at 11

  n.20. That is because the Third Circuit has held in asbestos cases that

  Congress intended for section 524(g) of the Bankruptcy Code to permit

  the channeling of claims to a personal injury trust notwithstanding state


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  law governing anti-assignment clauses in insurance policies. Federal-

  Mogul, 684 F.3d at 357; see, e.g., BSA Br. at 25 n.16; FCR Br. at 58.

        But as the plan proponents recognize, the holding in that case was

  narrow. It did not examine whether rights under insurance policies

  assigned to such a trust could be transferred without the concomitant

  burdens, which no law permits. See, e.g., A. 257-258 (Third Circuit did

  not even “have before it the argument made here: whether the rights can

  be transferred without the correlative obligations.”). And the Court in

  Federal-Mogul made clear that it was distinguishing the scenario that is

  now presented here: where a broad assignment of insurance rights

  without obligations or protections for insurers materially increases the

  risk that insurers bargained for in their contracts. See Federal-Mogul,

  684 F.3d at 379 & n.37; see also Global Indus., 645 F.3d at 213-14

  (explosion in claims materially altered insurers’ risk).

        Despite BSA’s claims, the Certain Insurers have never contended

  that their contracts require “scorched earth litigation” (BSA Br. at 104),

  prevent BSA from “settl[ing]” (BSA Br. at 67, 104, 119), or make coverage

  turn on “bankruptcy” (FCR Br. at 49). But, as explained above, the

  Certain Insurers’ rights extend far beyond the right to “refuse to pay


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  under their policies to the extent they could establish a coverage defense.”

  BSA Br. at 105. The plan cannot abrogate those rights and alter the

  parties’ economic and contractual bargain.

        The Court should reverse and remand for BSA to propose a good-

  faith plan that preserves all rights and obligations under BSA’s

  prepetition insurance contracts. Such a result would not prevent BSA

  from exiting bankruptcy, continuing its mission, and compensating bona

  fide survivors of sexual abuse—it would simply ensure that BSA’s

  Chapter 11 reorganization is consistent with the Bankruptcy Code and

  its commitments to insurers under prepetition contracts.




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                               CONCLUSION

        The Court should reverse.

  Dated:      Wilmington, Delaware
              December 21, 2022

                                            Respectfully Submitted,

                                         By:    /s/ Deirdre M. Richards
   Theodore J. Boutrous Jr. (pro hac vice)      Deirdre M. Richards
   Richard J. Doren (pro hac vice)              (DE Bar No. 4191)
   Blaine H. Evanson (pro hac vice)             FINEMAN KREKSTEIN
   GIBSON, DUNN & CRUTCHER LLP                  & HARRIS PC
   333 South Grand Avenue                       1300 N. King Street
   Los Angeles, California 90071                Wilmington, DE 19801
   tboutrous@gibsondunn.com                     Telephone: (302) 538-8331
   rdoren@gibsondunn.com                        Facsimile: (302) 394-9228
   bevanson@gibsondunn.com                      drichards@finemanlawfirm.com

   Michael A. Rosenthal (pro hac vice)          Susan N.K. Gummow
   Mitchell A. Karlan (pro hac vice)            (pro hac vice)
   James Hallowell (pro hac vice)               FORAN GLENNON
   Keith R. Martorana (pro hac vice)            PALANDECH PONZI &
   Seth M. Rokosky (pro hac vice)               RUDLOFF P.C.
   GIBSON, DUNN & CRUTCHER LLP                  222 N. LaSalle St., Suite 1400
   200 Park Avenue                              Chicago, Illinois 60601
   New York, New York 10166                     sgummow@fgppr.com
   mrosenthal@gibsondunn.com
   mkarlan@gibsondunn.com
   jhallowell@gibsondunn.com
   kmartorana@gibsondun.com
   srokosky@gibsondunn.com

   Counsel for National Union Fire Insurance Company of Pittsburgh, Pa.,
   Lexington Insurance Company, Landmark Insurance Company, and the
   Insurance Company of the State of Pennsylvania


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   /s/ David M. Fournier                 /s/ David M. Fournier      _
   David M. Fournier (DE Bar No.         David M. Fournier (DE Bar No.
   2812)                                 2812)
   Marcy J. McLaughlin Smith (DE         Marcy J. McLaughlin Smith (DE
   No. 6184)                             No. 6184)
   TROUTMAN PEPPER                       TROUTMAN PEPPER
   HAMILTON SANDERS LLP                  HAMILTON SANDERS LLP
   Hercules Plaza                        Hercules Plaza, Suite 5100
   1313 Market Street                    1313 Market Street
   Suite 5100                            P.O. Box 1709
   P.O. Box 1709                         Wilmington, DE 19899-1709
   Wilmington, DE 19899-1709             Telephone: 302.777.6500
   Telephone: 404.885.3000               Facsimile: 302.421.8390
   david.fournier@troutman.com           david.fournier@troutman.com
   marcy.smith@troutman.com              marcy.smith@troutman.com

   -and-                                 -and-

   Harris B. Winsberg (pro hac vice)     Harris B. Winsberg (pro hac vice)
   Matthew G. Roberts (pro hac           Matthew G. Roberts (pro hac
   vice)                                 vice)
   PARKER, HUDSON, RAINER &              PARKER, HUDSON, RAINER &
   DOBBS LLP                             DOBBS LLP
   303 Peachtree Street NE               303 Peachtree Street NE
   Suite 3600                            Suite 3600
   Atlanta, GA 30308                     Atlanta, GA 30308
   Telephone: 404.420.4313               Telephone: 404.420.4313
   Facsimile: 404.522.8409               Facsimile: 404.522.8409
   hwinsberg@phrd.com                    hwinsberg@phrd.com
   mroberts@phrd.com                     mroberts@phrd.com

   -and-                                 -and-

   Margaret H. Warner (pro hac           Todd C. Jacobs (pro hac vice)
   vice)                                 John E. Bucheit (pro hac vice)
   Ryan S. Smethurst (pro hac vice)      Paul J. Esker (pro hac vice)
   Alex M. Spisak (pro hac vice)         BRADLEY RILEY JACOBS PC
                                         500 West Madison Street
                                       77
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   McDERMOTT WILL & EMERY                Suite 1000
   LLP                                   Chicago, IL 60661
   The McDermott Building                Telephone: 312.281.0295
   500 North Capitol Street, NW          tjacobs@bradleyriley.com
   Washington, DC 20001-1531             jbucheit@bradleyriley.com
   Telephone: 202.756.8228               pesker@bradleyriley.com
   Facsimile: 202.756.8087
   mwarner@mwe.com                       Counsel for National Surety
   rsmethurst@mwe.com                    Corporation and Interstate Fire &
   aspisak@mwe.com                       Casualty Company

   Counsel for Allianz Global Risks
   US Insurance Company


   /s/ Kathleen M. Miller                   /s/ Paul Logan
   Kathleen M. Miller (No. 2898)            Paul Logan (No. 3339)
   SMITH, KATZENSTEIN &                     POST & SCHELL, P.C.
   JENKINS LLP                              300 Delaware Avenue, Suite
   1000 West Street, Suite 501              1380
   P.O. Box 410                             Wilmington, DE 19801
   Wilmington, DE 19899                     Telephone: (302) 251-8856
   Telephone: (302) 652-8400                Email: plogan@postschell.com
   kmiller@skjlaw.com
                                      John C. Sullivan (pro hac vice)
   Ronald P. Schiller (pro hac vice)  Kathleen K. Kerns (pro hac vice)
   Matthew A. Hamermesh (pro hac      POST & SCHELL, P.C.
   vice)                              Four Penn Center – 13th Floor
   HANGLEY ARONCHICK SEGAL 1600 John F. Kennedy
   PUDLIN & SCHILLER                  Boulevard
   One Logan Square, 27th Floor       Philadelphia, PA 19103
   Philadelphia, PA 19103             Telephone: (215) 587-1000
   T: (215) 568-6200                  jsullivan@postschell.com
   F: (215) 568-0300                 kkerns@postschell.com
   E: rschiller@hangley.com
   mhamermesh@hangley.com             -and-



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   Counsel for Arch Insurance               George R. Calhoun (pro hac vice)
   Company                                  IFRAH PLLC
                                            1717 Pennsylvania Avenue,
                                            N.W. Suite 650
                                            Washington, DC 20006
                                            Telephone: (202) 840-8758
                                            george@ifrahlaw.com

                                         Counsel for Argonaut Insurance
                                         Company and Colony Insurance
                                         Company




   /s/ Michael J. Joyce                  /s/ Maria Aprile Sawczuk
   Michael J. Joyce (No. 4563)           Maria Aprile Sawczuk (DE
   JOYCE, LLC                            #3320)
   1225 King Street, Suite 800           GOLDSTEIN & MCCLINTOCK
   Wilmington, DE 19801                  LLLP
   Telephone: (302) 388-1944             501 Silverside Road
   Email: mjoyce@mjlawoffices.com        Wilmington, DE 19809
                                         302-444-6710
   -and-                                 marias@goldmclaw.com

   Kevin Coughlin (pro hac vice)         -and-
   Lorraine Armenti (pro hac vice)
   Michael Hrinewski (pro hac vice)      Laura McNally (pro hac vice)
   COUGHLIN MIDLIGE &                    Emily Stone (pro hac vice)
   GARLAND, LLP                          LOEB & LOEB LLP
   350 Mount Kemble Avenue               321 N. Clark Street, Suite 2300
   PO Box 1917                           Chicago, IL 60654
   Morristown, NJ 07962                  312-464-3155
   Telephone: (973) 267-0058             lmcnally@loeb.com
   Facsimile: 973-267-6442               estone@loeb.com
   kcoughlin@cmg.law
   larmenti@cmg.law
   mhrinewski@cmg.law
                                       79
Case 1:22-cv-01237-RGA Document 109 Filed 12/21/22 Page 96 of 102 PageID #: 15476




   -and-                                 David Christian (pro hac vice)
                                         DAVID CHRISTIAN
   Britton C. Lewis                      ATTORNEYS LLC
   John M. Flynn                         105 W. Madison St., Suite 1400
   CARRUTHERS & ROTH, P.A.               Chicago, IL 60602
   235 N. Edgeworth Street               Telephone: 312-282-5282
   P.O. Box 540                          dchristian@dca.law
   Greensboro, NC 27401
   Telephone: (336) 478-1146             Counsel for The Continental
   Facsimile: (336) 478-1145             Insurance Company and
   jmf@crlaw.com                         Columbia Casualty Company
   bcl@crlaw.com

   Counsel for Arrowood
   Indemnity Company

   /s/ Brian A. Sullivan                 /s/ Kathleen M. Miller
   Brian A. Sullivan (No. 2098)          Kathleen M. Miller (DE Bar No.
   WERB & SULLIVAN                       2898)
   LEGAL ARTS BUILDING                   SMITH, KATZENSTEIN &
   1225 N. King Street                   JENKINS LLP
   Suite 600                             1000 West Street, Suite 501
   Wilmington, Delaware 19801            P.O. Box 410
   Telephone: (302) 652-1100             Wilmington, DE 19899
   Cell: (302) 757-9932                  Telephone: (302) 652-8400
   Facsimile: (302) 652-1111             Email: kmiller@skjlaw.com
   Email:
   bsullivan@werbsullivan.com            -and-

   John E.W. Baay II (pro hac vice)      Mary E. Borja (pro hac vice)
   GIEGER LABORDE &                      Gary P. Seligman (pro hac vice)
   LAPEROUOSE, LLC                       Ashley L. Criss (pro hac vice)
   701 Poydras Street                    WILEY REIN LLP
   Suite 4800                            2050 M Street NW
   New Orleans, LA 70139                 Washington, DC 20036
   Tel.: 504-561-0400                    Phone: (202) 719-7000
   Fax: 504-561-1011                     Email: mborja@wiley.law

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   Email: jbaay@glllaw.com               gseligman@wiley.law
                                         acriss@wiley.law
   -and-
                                      Counsel for General Star
   William H. White Jr (pro hac vice) Indemnity
   KIERNAN TREBACH LLP                Company
   1233 20th Street, NW
   8th Floor
   Washington, DC 20036
   Tel.: 202-712-7000
   Fax: 202-712-7100
   Email:
   wwhite@kiernantrebach.com

   Counsel for Gemini Insurance
   Company

   /s/ Bruce W. McCullough               /s/ Kathleen M. Miller
   Bruce W. McCullough (No. 3112)        Kathleen M. Miller (No. 2898)
   BODELL BOVÉ, LLC                      SMITH, KATZENSTEIN
   1225 N. King Street, Suite 1000       & JENKINS LLP
   Wilmington, Delaware 19801-           1000 West Street, Suite 1501
   3250                                  P.O. Box 410
   Telephone: (302) 655-6749             Wilmington, DE 19899 [Courier
   bmccullough@bodellbove.com            19801]
                                         Telephone: (302) 652-8400
   -and-                                 Facsimile: (302) 652-8405
                                         kmiller@skjlaw.com
   Bruce D. Celebrezze (pro hac vice)
   CLYDE & CO US LLP                     and
   150 California Street | 15th Floor
   San Francisco, California 94111       Lloyd A. Gura (pro hac vice)
   Telephone: (415) 365-9800             Pamela J. Minetto (pro hac vice)
   Facsimile: (415) 365-9801             MOUND COTTON WOLLAN &
   bruce.celebrezze@clydeco.us           GREENGRASS LLP
                                         One New York Plaza 44th Floor
                                         New York, NY 10004
                                         Tel: (212) 804-4282
                                        81
Case 1:22-cv-01237-RGA Document 109 Filed 12/21/22 Page 98 of 102 PageID #: 15478




                                         lgura@moundcotton.com
   Konrad R. Krebs (pro hac vice)        pminetto@moundcotton.com
   CLYDE & CO US LLP
   340 Mt. Kemble Avenue | Suite          Counsel for Indian Harbor
   300                                   Insurance Company, on behalf of
   Morristown, NJ 07960                  itself and as successor in interest
   Telephone: (973) 210-6700             to Catlin Specialty Insurance
   Facsimile: (973) 210-6701             Company
   konrad.krebs@clydeco.us

   -and-

   David Christian (pro hac vice)
   DAVID CHRISTIAN
   ATTORNEYS LLC
   105 W. Madison St., Suite 1400
   Chicago, Illinois 60602
   Telephone: (312) 282-5282
   dchristian@dca.law

   Counsel for Great American
   Assurance
   Company, f/k/a Agricultural
   Insurance Company; Great
   American E&S Insurance
   Company, f/k/a Agricultural
   Excess and Surplus Insurance
   Company; and Great American
   E&S Insurance Company

   /s/ R. Karl Hill     _                /s/ Thaddeus J. Weaver
   R. Karl Hill (DE Bar No. 2747)        Thaddeus J. Weaver (DE Bar. No.
   SEITZ, VAN OGTROP &                   2790)
   GREEN, P.A.                           DILWORTH PAXSON LLP
   222 Delaware Avenue                   704 N. King Street, Suite 500
   Suite 1500                            P.O. Box 1031
   Wilmington, DE 19801                  Wilmington, DE 19899-1031
   Telephone: (302) 888-0600             (302) 571-8867 (telephone)
                                       82
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   khill@svglaw.com                      (302) 351-8735 (facsimile)
                                         tweaver@dilworthlaw.com
   -and-
                                         -and-
   CHOATE, HALL & STEWART
   LLP                                   William E. McGrath, Jr. (pro hac
   Douglas R. Gooding (pro hac           vice)
   vice)                                 Dilworth Paxson LLP
   Jonathan D. Marshall (pro hac         2 Research Way, Suite 103
   vice)                                 Princeton, NJ 08540
   Two International Place               (609) 924-6000 (telephone)
   Boston, MA 02110                      (215) 893-8537 (facsimile)
   Telephone: (617) 248-5000             wmcgrath@dilworthlaw.com
   dgooding@choate.com
   jmarshall@choate.com                  Counsel for Munich Reinsurance
                                         America, Inc., formerly known as
   -and-                                 American Re-Insurance Company

   MINTZ, LEVIN, COHN,
   FERRIS, GLOVSKY AND
   POPEO PC
   Kim V. Marrkand (pro hac vice)
   One Financial Center
   Boston, MA 02111
   Telephone: (617) 542-6000
   kvmarrkand@mintz.com

   Counsel for Liberty Mutual
   Insurance Company, The Ohio
   Casualty Insurance Company,
   Liberty Insurance Underwriters,
   Inc. and Liberty Surplus
   Insurance Corporation




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   /s/ Stephen M. Miller                 /s/ Marla S. Benedek
   Stephen M. Miller (No. 2610)          Marla S. Benedek (No. 6638)
   Carl N. Kunz, III (No. 3201)          COZEN O’CONNOR
   MORRIS JAMES LLP                      1201 N. Market Street, Suite 1001
   500 Delaware Avenue, Suite            Wilmington, DE 19801
   1500                                  Telephone: (302) 295-2024
                                         Facsimile: (302) 250-4498
   Wilmington, Delaware 19801
                                         mbenedek@cozen.com
   Telephone: (302) 888-6800
   Facsimile: (302) 571-1750
                                         Counsel for Traders and Pacific
   smiller@morrisjames.com               Insurance Company, Endurance
   ckunz@morrisjames.com                 American Specialty Insurance
                                         Company, and Endurance
   -and-                                 American Insurance Company

   Margaret M. Anderson
   (pro hac vice)
   Ryan T. Schultz
   (pro hac vice)
   Adam A. Hachikian
   (pro hac vice)
   Kenneth M. Thomas
   (pro hac vice)
   FOX SWIBEL LEVIN &
   CARROLL LLP
   200 W. Madison Street, Suite
   3000
   Chicago, Illinois 60606
   Telephone: (312) 224-1200
   Facsimile: (312) 224-1201
   panderson@foxswibel.com
   rschultz@foxswibel.com
   ahachikian@foxswibel.com
   kthomas@foxswibel.com

   Counsel for Old Republic
   Insurance Company
                                       84
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   / Louis J. Rizzo, Jr.
   Louis J. Rizzo, Jr. (DE Bar No.
   3374)
   REGER RIZZO & DARNALL LLP
   1521 Concord Pike Suite 305
   Brandywine Plaza West
   Wilmington DE 19803
   Telephone: (302) 477-7100
   Facsimile: (302) 652-3620
   lrizzo@regerlaw.com

   Counsel for Travelers Casualty
   and Surety Company, Inc. (f/k/a
   Aetna Casualty & Surety
   Company), St. Paul Surplus Lines
   Insurance Company and Gulf
   Insurance Company




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  /s/ Deirdre M. Richards
  (DE Bar No. 4191)




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